                    Case 24-12158-KBO             Doc 10       Filed 09/18/24        Page 1 of 69




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re                                                         Chapter 11

    Silvergate Capital Corporation., et al.,1                     Case No. ________ (__)

                                            Debtors.              (Joint Administration Requested)




                         JOINT CHAPTER 11 PLAN OF
        SILVERGATE CAPITAL CORPORATION AND ITS AFFILIATED DEBTORS

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    Proposed Counsel and Co-Counsel to the Debtors and Debtors in Possession



    Dated: September 18, 2024
    Wilmington, Delaware




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are as follow: Silvergate Capital Corporation (7337), Silvergate Liquidation Corporation
      (4449) and Spring Valley Lots, LLC (0474). The Debtors’ mailing address is 4225 Executive Square, Suite 600,
      La Jolla, CA 92037.



[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO                    Doc 10          Filed 09/18/24             Page 2 of 69




                                                   TABLE OF CONTENTS

                                                                                                                                      Page

INTRODUCTION ...........................................................................................................................1

ARTICLE I:
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW ..........................1
          A.         Defined Terms .........................................................................................................1
          B.         Interpretation; Application of Definitions; and Rules of Construction .................16
          C.         Computation of Time .............................................................................................17
          D.         Governing Law ......................................................................................................17
          E.         Reference to Monetary Figures ..............................................................................17
          F.         Reference to the Debtors or the Post-Effective Date Debtors ...............................17
          G.         Controlling Document ...........................................................................................17

ARTICLE II:
                             ADMINISTRATIVE AND PRIORITY CLAIMS ....................................17
          A.         Administrative Expense Claims .............................................................................18
          B.         Professional Fee Claims .........................................................................................18
          C.         Ad Hoc Preferred Stockholder Group Expenses ...................................................19
          D.         Statutory Fees.........................................................................................................20
          E.         Priority Tax Claims ................................................................................................20

ARTICLE III:
                            CLASSIFICATION AND TREATMENT OF CLAIMS AND
                            INTERESTS ..............................................................................................20
          A.         Summary of Classification of Claims and Interests ...............................................20
          B.         Treatment of Claims and Interests .........................................................................21
          C.         Elimination of Vacant Classes ...............................................................................25
          D.         Separate Classification of Secured Claims ............................................................26
          E.         Voting Classes; Presumed Acceptance by Non-Voting Classes............................26
          F.         Controversy Concerning Impairment ....................................................................26

ARTICLE IV:
                            ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF
                            REJECTION BY ONE OR MORE CLASSES OF CLAIMS OR
                            INTERESTS ..............................................................................................26
          A.         Classes Entitled to Vote .........................................................................................26
          B.         Class Acceptance Requirement..............................................................................26
          C.         Cramdown and No Unfair Discrimination .............................................................27

ARTICLE V:
                            MEANS FOR IMPLEMENTATION ........................................................27
          A.         Consolidation for Distribution Purposes Only.......................................................27
          B.         Sources of Consideration for Distributions............................................................27
                                                      i
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO                     Doc 10           Filed 09/18/24             Page 3 of 69




          C.         Establishing Disputed Claims Reserve and Indemnification Reserve ...................27
          D.         Dissolution and Board of Directors .......................................................................28
          E.         Exemption from Registration .................................................................................28
          F.         Deemed Holders of Subordinated Note Claims .....................................................30
          G.         Preservation of Insurance .......................................................................................31
          H.         Indemnification Obligations ..................................................................................31
          I.         Cancellation of Existing Securities and Agreements .............................................32
          J.         Exemption from Certain Taxes and Fees ...............................................................32

ARTICLE VI:
                            LIQUIDATION TRUST............................................................................32
          A.         Liquidation Trust Agreement .................................................................................32
          B.         Purpose of the Liquidation Trust ...........................................................................33
          C.         Liquidation Trust Assets ........................................................................................33
          D.         Liquidation Trustee ................................................................................................34
          E.         Functions of the Liquidation Trustee .....................................................................34
          F.         Preservation of Rights of Action............................................................................35
          G.         Substitution in Pending Legal Actions ..................................................................36
          H.         Fees and Expenses of the Liquidation Trust. .........................................................36
          I.         Data Retention and Production Obligations ..........................................................36
          J.         Creation and Maintenance of Trust Accounts .......................................................37
          K.         Exculpation and Indemnification of Liquidation Trustee ......................................37
          L.         Insurance ................................................................................................................37
          M.         Records ..................................................................................................................37
          N.         Liquidation Trust Tax Matters ...............................................................................38

ARTICLE VII:
                             PROVISIONS REGARDING DISTRIBUTIONS ....................................40
          A.         Distributions Generally ..........................................................................................40
          B.         Distribution Record Date .......................................................................................40
          C.         Disbursing Agent ...................................................................................................40
          D.         Rights and Powers of Disbursing Agent ................................................................41
          E.         Post-Petition Interest ..............................................................................................41
          F.         Delivery of Distributions .......................................................................................41
          G.         Distributions after the Effective Date ....................................................................42
          H.         Unclaimed Property ...............................................................................................42
          I.         Time Bar to Cash Payments ...................................................................................42
          J.         Manner of Payment under Plan..............................................................................42
          K.         Satisfaction of Claims ............................................................................................42
          L.         Minimum Cash Distributions .................................................................................42
          M.         Setoffs and Recoupments .......................................................................................43
          N.         Claims or Interests Paid by Third Parties ..............................................................43
          O.         Allocation of Distributions between Principal and Interest ...................................44
          P.         No Distribution in Excess of Allowed Claim ........................................................44
          Q.         Distributions Free and Clear ..................................................................................44
          R.         Compliance with Tax Requirements ......................................................................44
                                                                      ii
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO                     Doc 10            Filed 09/18/24            Page 4 of 69




ARTICLE VIII:
                            PROCEDURES FOR DISPUTED CLAIMS AND INTERESTS.............44
          A.         Objections to Claims ..............................................................................................44
          B.         Allowance of Claims..............................................................................................45
          C.         Resolution of Claims..............................................................................................45
          D.         Adjustment to Claims Register Without Objection ...............................................45
          E.         Disallowance of Claims .........................................................................................45
          F.         Estimation of Claims..............................................................................................45
          G.         Amendments to Proofs of Claim............................................................................46
          H.         No Distributions Pending Allowance and Disputed Interest Reserves ..................46
          I.         Allowed and Disputed Claims Reserves ................................................................46
          J.         Distributions After Allowance ...............................................................................46

ARTICLE IX:
                             SETTLEMENT, RELEASE, INJUNCTION, AND RELATED
                             PROVISIONS ............................................................................................47
          A.         Compromise and Settlement of Claims, Interests, and Controversies ...................47
          B.         Releases by the Debtors .........................................................................................47
          C.         Releases by Holders of Claims and Interests .........................................................48
          D.         Exculpation ............................................................................................................49
          E.         Injunction ...............................................................................................................50
          F.         Protection Against Discriminatory Treatment .......................................................50
          G.         Setoffs 51

ARTICLE X:
                            EXECUTORY CONTRACTS...................................................................51
          A.         Rejection of Executory Contracts ..........................................................................51
          B.         Rejection Damages Claims ....................................................................................51
          C.         Cure of Defaults for Assumed Executory Contracts and Unexpired Leases .........52
          D.         Assignment ............................................................................................................52
          E.         Modifications, Amendments, Supplements, Restatements, or Other Agreements 53
          F.         Reservation of Rights.............................................................................................53

ARTICLE XI:
                             CONDITIONS PRECEDENT TO CONFIRMATION
                             AND THE EFFECTIVE DATE ................................................................53
          A.         Conditions to Confirmation of the Plan .................................................................53
          B.         Conditions to Occurrence of the Effective Date ....................................................54
          C.         Waiver of Conditions to Confirmation and Effective Date ...................................54
          D.         Effect of Failure of Conditions to the Effective Date ............................................55

ARTICLE XII:
                             MODIFICATION OF THE PLAN ............................................................55
          A.         Plan Modifications .................................................................................................55
          B.         Effect of Confirmation on Modification ................................................................55


                                                                      iii
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO                     Doc 10           Filed 09/18/24              Page 5 of 69




ARTICLE XIII:
                            EFFECT OF CONFIRMATION ...............................................................56
          A.         Deemed Consent ....................................................................................................56
          B.         No Waiver ..............................................................................................................56
          C.         Disallowed Claims and Disallowed Interests ........................................................56

ARTICLE XIV:
                                RETENTION OF JURISDICTION ...........................................................56

ARTICLE XV:
                            MISCELLANEOUS PROVISIONS..........................................................59
          A.         Payment of Statutory Fees .....................................................................................59
          B.         Notices ...................................................................................................................59
          C.         Headings ................................................................................................................61
          D.         Governing Law ......................................................................................................61
          E.         Notice of Entry of Confirmation Order and Relevant Dates .................................61
          F.         Revocation, Withdrawal or Non-Consummation of Plan ......................................61
          G.         Binding Effect ........................................................................................................62
          H.         Severability of Plan Provisions ..............................................................................62
          I.         No Admissions .......................................................................................................62
          J.         Time ....................................................................................................................62
          K.         Successors and Assigns..........................................................................................62
          L.         Conflict between Plan, Disclosure Statement and Plan Documents ......................63
          M.         Substantial Consummation ....................................................................................63
          N.         Plan Exhibits ..........................................................................................................63




                                                                      iv
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO            Doc 10       Filed 09/18/24          Page 6 of 69




                                               INTRODUCTION2

       Silvergate Capital Corporation and its subsidiaries Silvergate Liquidation Corporation and
Spring Valley Lots, LLC, as debtors and debtors in possession, hereby collectively propose the
following plan pursuant to the provisions of chapter 11 of the Bankruptcy Code.

        Capitalized terms used but not otherwise defined herein shall have the respective meanings
ascribed to such terms in Article I hereof or in the Bankruptcy Code (as applicable). Holders of
Claims and Interests should refer to the Disclosure Statement for a discussion of the Debtors’
history, businesses, assets, results of operations, historical financial information, as well as a
summary and description of the Plan. The Debtors are the proponents of the Plan within the
meaning of section 1129 of the Bankruptcy Code. Although proposed jointly for administrative
purposes, the Plan shall apply as a separate Plan for each of the Debtors, and the classification of
Claims and Interests set forth herein shall apply separately to each of the Debtors; provided that,
the estates of the various Debtors shall be consolidated for the purpose of effectuating distributions
under the Plan.

      ALL HOLDERS OF CLAIMS AND INTERESTS (WHETHER ENTITLED TO VOTE
ON THE PLAN OR OTHERWISE) ARE ENCOURAGED TO READ THE PLAN AND THE
DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN OR TAKING ANY OTHER ACTION WITH RESPECT TO THE PLAN.
SUBJECT TO CERTAIN RESTRICTIONS AND REQUIREMENTS SET FORTH IN SECTION
1127 OF THE BANKRUPTCY CODE, RULE 3019 OF THE BANKRUPTCY RULES, AND
ARTICLE XII OF THE PLAN, THE DEBTORS RESERVE THE RIGHT TO ALTER, AMEND,
MODIFY, SUPPLEMENT, REVOKE, OR WITHDRAW THE PLAN PRIOR TO ITS
CONSUMMATION.

     WITHOUT LIMITING THE GENERALITY OF THE FOREGOING, ALL HOLDERS
OF CLAIMS AND INTERESTS (WHETHER ENTITLED TO VOTE ON THE PLAN OR
OTHERWISE) ARE ENCOURAGED TO READ THE RELEASE, INJUNCTION, AND
EXCULPATION PROVISIONS SET FORTH UNDER ARTICLE IX OF THE PLAN.

                                          ARTICLE I:
                           DEFINED TERMS, RULES OF INTERPRETATION,
                           COMPUTATION OF TIME, AND GOVERNING LAW

A.        Defined Terms

          As used in this Plan, capitalized terms have the meanings set forth below.

           1.      “Ad Hoc Preferred Stockholder Group” means that certain ad hoc group of
    holders, or investment advisors or managers acting on behalf of holders, of certain Preferred Stock
    Interests represented by Milbank LLP.




2
      The Plan remains subject to ongoing revisions of the Debtors in all respects.



[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO     Doc 10       Filed 09/18/24    Page 7 of 69




       2.     “Ad Hoc Preferred Stockholder Group Expenses” means, collectively, all
 reasonable and documented fees and expenses of counsel to the Ad Hoc Preferred Stockholder
 Group.

        3.     “Administrative Expense Claim” means a Claim against any of the Debtors for
 costs and expenses of administration of the Debtors’ Estates pursuant to sections 503(b),
 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including (i) the actual and necessary
 costs and expenses incurred after the Petition Date and through the Effective Date of preserving
 the Estates and operating the businesses of the Debtors, including wages, salaries, or commissions
 for services rendered after the Petition Date; (ii) Professional Fee Claims; and (iii) fees and
 charges payable to the U.S. Trustee pursuant to Section 1930 of the Judicial Code.

       4.      “Administrative Expense Claims Bar Date” shall be such date that is thirty
 (30) days following the Effective Date.

       5.     “Administrative Claims Objection Deadline” means the first Business Day that is
 one-hundred and eighty (180) days after the Effective Date; provided that such date may be
 extended by the Bankruptcy Court at the request of the Debtors or the Liquidation Trustee.

        6.      “Affiliate” means, with respect to any Entity, all Entities that would fall within the
 definition assigned to such term in section 101(2) of the Bankruptcy Code if such Entity was a
 debtor in a case under the Bankruptcy Code.

        7.     “Bhatia Litigation” means the consolidated class action pending in the Southern
 District of California captioned Bhatia v. Silvergate Capital Corporation, Silvergate Bank and
 Lane.

        8.    “Bhatia Litigation Class Claim” means the claim of all class members arising
 under the Bhatia Litigation Class, which shall be deemed Allowed in the amount of the Settlement
 Fund upon entry of the Bhatia Litigation Final Approval Order.

       9.     “Bhatia Litigation Class Members” means members of the purported class of
 claimants under the Bhatia Litigation.

       10.     “Bhatia Litigation Final Approval Order” means a Final Order of the U.S. District
 Court for the Southern District of California (or other court of competent jurisdiction) approving
 Bhatia Litigation Settlement.

        11.     “Bhatia Litigation Settlement” means settlement agreed by and between Bhatia
 Silvergate Capital Corporation, Silvergate Liquidation Corporation and Alan Lane as defendants
 in the Bhatia Litigation and the purported class plaintiffs in the Bhatia Litigation, which is subject
 to approval by the Bankruptcy Court and the U.S. District Court for the Southern District of
 California.

      12.     “Bhatia Litigation Settlement Fund” shall mean the agreed settlement amount of
 $10 million.

                                                   2
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO     Doc 10       Filed 09/18/24    Page 8 of 69




        13.     “Allowed” means, with respect to any Claim or Interest, except as otherwise
 provided herein, such Claim or Interest (or any portion thereof) that is not Disallowed and (i) has
 been expressly Allowed under the Plan, any stipulation approved by the Bankruptcy Court, or a
 Final Order of the Bankruptcy Court; (ii) is both not Disputed prior to the expiration of the Claims
 Objection Deadline and either (a) evidenced by a Filed Proof of Claim (or for which under the
 Plan, the Bankruptcy Code, or a Final Order of the Bankruptcy Court a Proof of Claim is not or
 shall not be required to be Filed) or (b) listed in the Schedules as not contingent, not unliquidated,
 and not disputed, and for which no Proof of Claim has been Filed; (iii) is allowed by a Final
 Order; or (iv) is compromised, settled, or otherwise resolved by the Debtors and the Liquidation
 Trust, and the Holder of such Claim or Interest; provided that, except as otherwise expressly
 provided herein, the amount of any Allowed Claim or Allowed Interest shall be determined in
 accordance with the Bankruptcy Code, including sections 502(b), 503(b) and 506 of the
 Bankruptcy Code. “Allow,” “Allowance,” and “Allowing” shall have correlative meanings.

       14.     “Assets” means all of the right, title and interest of any of the Debtors in and to
 property of whatever type or nature (whether real, personal, mixed, tangible, intangible, or
 otherwise), including property of any of the Debtors’ Estates.

        15.     “Avoidance Actions” means any and all actual or potential Claims and Causes of
 Action to avoid a transfer of property or an obligation incurred by the Debtors and any recovery,
 subordination, or other remedies that may be brought by or on behalf of the Debtors and their
 Estates under the Bankruptcy Code or applicable non-bankruptcy law, including under
 sections 502, 544, 545, 547, 548, 549, 550, 551, 553(b) and 724(a) of the Bankruptcy Code,
 chapter 5 of the Bankruptcy Code, or applicable non-bankruptcy law.

        16.    “Ballot” means the form(s) distributed to Holders of Claims and Interests entitled
 to vote on the Plan to indicate their acceptance or rejection of the Plan and to make an election
 with respect to the releases by Holders of Claims and Interests provided by Article IX.C.

       17.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
 1532, as now in effect or as may be amended hereafter and applicable to the Chapter 11 Cases.

       18.      “Bankruptcy Court” means (i) the United States Bankruptcy Court for the District
 of Delaware having jurisdiction over the Chapter 11 Cases; (ii) to the extent any reference made
 under section 157 of title 28 of the United States Code is withdrawn or the Bankruptcy Court is
 determined not to have authority to enter a Final Order on an issue, the unit of such District Court
 having jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States
 Code; or (iii) such other court as may have jurisdiction over the Chapter 11 Cases or any aspect
 thereof to the extent of such jurisdiction.

        19.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
 applicable to the Chapter 11 Cases, promulgated under section 2075 of the Judicial Code and the
 general, local, and chambers rules of the Bankruptcy Court, in each case, as amended from time
 to time and applicable to the Chapter 11 Cases.



                                                   3
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                    Case 24-12158-KBO        Doc 10       Filed 09/18/24   Page 9 of 69




        20.    “Bar Date” means the applicable deadline by which Proofs of Claim must be filed,
 as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) the
 Plan.

          21.        “Bar Date Order” means the [●].

        22.    “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
 (as defined in Bankruptcy Rule 9006(a)), or a day on which banking institutions in New York,
 New York are authorized by law or other governmental action to close.

       23.           “Cash” means the legal tender of the United States of America or equivalents
 thereof.

        24.     “Cause of Action” means any action, claim, proceeding, cause of action,
 controversy, demand, right, action, Lien, indemnity, interest, guarantee, suit, obligation, liability,
 damage, judgment, account, defense, offset, power, privilege, license, or franchise of any kind or
 character whatsoever, whether known, unknown, contingent or non-contingent, matured or
 unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
 or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
 Date, in contract or in tort, in law, or in equity or pursuant to any other theory of law. For the
 avoidance of any doubt, “Cause of Action” includes (i) any right of setoff or counterclaim and
 any claim for breach of contract or for breach of duties imposed by law or in equity; (ii) any Claim
 based on or relating to, or in any manner arising from, in whole or in part, tort, breach of contract,
 breach of fiduciary duty, violation of state or federal law or breach of any duty imposed by law
 or in equity; (iii) the right to object to or to otherwise contest, recharacterize, reclassify,
 subordinate, or disallow any Claims or Interests; (iv) any Claim pursuant to section 362 of the
 Bankruptcy Code; (v) any claim or defense, including fraud, mistake, duress, and usury, and any
 other defenses set forth in section 558 of the Bankruptcy Code; (vi) any Avoidance Action; and
 (vii) any rights and powers held by the Debtors pursuant to and in accordance with Bankruptcy
 Rule 2004 with respect to any of the foregoing.

       25.     “Certificate of Designation” means the Articles Supplementary Designating the
 Rights and Preferences of the 5.375 Fixed Rate Non-Cumulative Perpetual Preferred Stock, Series
 A, Par Value $0.01 Per Share of Silvergate Capital Corporation.

        26.     “Chapter 11 Cases” means (i) when used with reference to a particular Debtor, the
 case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court;
 and (ii) when used with reference to all of the Debtors, the procedurally consolidated and jointly
 administered chapter 11 cases pending for the Debtors in the Bankruptcy Court which are styled
 as In re Silvergate Capital Corporation et al., Case No. ______ (___).

          27.        “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

        28.    “Claims and Noticing Agent” means Stretto, Inc., the Claims and Noticing Agent
 retained by the Debtors in the Chapter 11 Cases by order of the Bankruptcy Court.


                                                      4
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO       Doc 10       Filed 09/18/24   Page 10 of 69




        29.     “Claims Objection Deadline” means, for each Claim, the latest of (a) the date that
 is one hundred and eighty (180) days after the Effective Date, (b) as to a particular Claim,
 180 days after the filing of a Proof of Claim, or request for payment of such Claim, and (c) such
 later date as may be fixed by the Bankruptcy Court upon a motion by the Liquidation Trustee on
 regular notice on or before the day that is one hundred and eighty (180) days after the Effective
 Date or such later date as may be fixed by the Bankruptcy Court.

      30.     “Claims Register” means the official register of Claims maintained by the Claims
 and Noticing Agent in the Chapter 11 Cases.

       31.     “Class” means a category of Holders of Claims or Interests classified by the Plan
 pursuant to section 1122(a) of the Bankruptcy Code.

       32.    “Common Stock” means the Class A Common Stock, par value $0.01 per share, of
 Silvergate Capital Corporation.

       33.    “Common Stock Interests” means Interests in Common Stock in SCC, excluding
 any Section 510(b) Claims.

       34.    “Confirmation” means the entry of the Confirmation Order on the docket of the
 Chapter 11 Cases.

       35.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
 Rules 5003 and 9021.

       36.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
 consider Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

        37.   “Confirmation Order” means the order of the Bankruptcy Court confirming the
 Plan, pursuant to section 1129 of the Bankruptcy Code, which shall be in form and substance
 reasonably acceptable to the Required Preferred Stockholders.

          38.        “Consummation” means the occurrence of the Effective Date.

        39.     “Contract Rate” means the rate of interest provided for under any agreement giving
 rise to a Claim against the Debtors, which, to the extent applicable, shall be calculated as of the
 Petition Date.

        40.     “Cure Amount” means the payment of Cash by the Debtors or Liquidation Trust,
 or the distribution of other property (as the parties may agree or the Bankruptcy Court may order),
 as necessary pursuant to section 365(b)(1)(A) of the Bankruptcy Code to permit the Debtors to
 assume an executory contract or unexpired lease.

        41.    “D&O Liability Insurance Policies” means, collectively, all Insurance Policies
 (including any “tail policy” or runoff period in respect of an Insurance Policy) issued at any time,
 whether expired or unexpired, to any of the Debtors for certain liabilities of the Debtors, their

                                                    5
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10       Filed 09/18/24   Page 11 of 69




    current or former directors and officers, including primary insurance, excess insurance, or tail
    insurance policies and all agreements, documents or instruments related thereto.

          42.    “Data Retention and Production Obligations” means the obligations set forth in
    Paragraph 4 of the DFPI C&D, requiring Silvergate Capital Corporation to ensure that Silvergate
    Liquidation Corporation’s3 records are preserved and maintained in a form and accessible by the
    Commissioner of Financial Protection and Innovation, the Federal Reserve Board of Governors,
    law enforcement, and other state and federal regulators until July 8, 2031.

           43.    “Data Retention and Production Reserve” means $[___] million, which amount
    shall be determined by the Debtors and the Required Preferred Stockholders, and shall be held in
    one or more separate accounts from other Liquidation Trust Assets.

          44.    “Debtors” means, collectively, (i) Silvergate Capital Corporation; (ii) Silvergate
    Liquidation Corporation; and (iii) Spring Valley Lots, LLC.

          45.        “DFPI” means the California Department of Financial Protection and Innovation.

          46.     “DFPI C&D” means the Consent Order entered into between the Commissioner of
    Financial Protection and Innovation of the DFPI and Silvergate Capital Corporation and
    Silvergate Liquidation Corporation (previously named Silvergate Bank) on June 26, 2024.

            47.   “Directors and Officers” means (i) the Chapter 11 Directors and Officers and
    (ii) the Former Directors and Officers.

           48.    “Disallowed” means any Claim, or any portion thereof, that (i) has been disallowed
    by Final Order or settlement; (ii) is listed on the Schedules at an amount of $0.00 or as contingent,
    disputed, or unliquidated and as to which a Bar Date has been established but no Proof of Claim
    has been timely Filed, deemed timely Filed pursuant to either the Bankruptcy Code or any Final
    Order of the Bankruptcy Court, including the Bar Date Order, or otherwise deemed timely Filed
    under applicable law; or (iii) is not listed on the Schedules and as to which a Bar Date has been
    established but no Proof of Claim has been timely Filed or deemed timely Filed with the
    Bankruptcy Court pursuant to the Bankruptcy Code or any Final Order of the Bankruptcy Court,
    including the Bar Date Order, or otherwise deemed timely Filed under applicable law, and for
    which no motion for leave to File a late Claim has been Filed prior to the Effective Date of the
    Plan. “Disallow” and “Disallowance” shall have correlative meanings.

           49.    “Disbursing Agent” means an entity selected to make Distributions at the direction
    of the Liquidation Trustee, which may include the Claims and Noticing Agent or the Liquidation
    Trustee, the Debtors or the Post-Effective Date Debtors.

          50.      “Disclosure Statement” means (i) the Disclosure Statement for the Joint Chapter
    11 Plan of Silvergate Capital Corporation and Its Debtor Affiliates [Docket No. [●]] (as amended,
    modified, or supplemented from time to time in accordance with its terms), including all exhibits
    and schedules thereto and references therein that relate to the Plan that are prepared and

3
      Previously named Silvergate Bank.
                                                     6
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO       Doc 10     Filed 09/18/24   Page 12 of 69




 distributed in accordance with applicable law and (ii) any supplement, amendment, or
 modification thereto.

        51.     “Disputed” means, with respect to a Claim or Interest, (i) a Claim or Interest listed
 on the Schedules as unliquidated, disputed, or contingent for which no Proof of Claim in a
 liquidated and non-contingent amount has been filed; (ii) a Claim or Interest that is the subject of
 an objection or request for estimation Filed by any of the Debtors, the Liquidation Trustee, or any
 other party-in-interest in accordance with applicable law and which objection or request has not
 been withdrawn, resolved, or overruled by a Final Order of the Bankruptcy Court; (iii) a Claim
 or Interest that is not otherwise Allowed or Disallowed under the Plan and, as to which, the
 applicable deadline for the Debtors, the Liquidation Trustee, or any other party-in-interest to
 object (including any extension to such deadline granted by the Bankruptcy Court) has not yet
 expired; or (iv) Section 510(b) Claims.

        52.     “Disputed Claims Reserve” means an amount of Cash on the Effective Date
 allocable to, or retained on account of, Disputed Administrative Expense Claims, Disputed
 Priority Tax Claims, Disputed Other Priority Claims, Disputed Secured Claims, Disputed
 General Unsecured Claims and Disputed Preferred Stock Interests, and all Statutory Fees in
 connection with any distributions to be made on account thereof), which reserve shall (i) either
 (x) be set in accordance with the Estimation Procedures Order or (y) be subject to the reasonable
 consent of the Required Preferred Stockholders, (ii) serve as a cap on available distributions from
 the Disputed Claims Reserve and (iii) be held in one or more separate accounts from other
 Liquidation Trust Assets.

       53.     “Distribution” means the distributions of Cash (or other property), including by
 way of dividend, to be made by the Post-Effective Date Debtors, or their agents (as applicable)
 to Holders of Allowed Claims or Interests in accordance with the terms of the Plan.

          54.        “DTC” means the Depository Trust Company.

        55.    “Effective Date” means, with respect to the Plan, the date that is the first Business
 Day on which (i) no stay of the Confirmation Order is in effect; (ii) all conditions precedent
 specified in Article XI have been satisfied or waived (in accordance with Article XI); and (iii) the
 Plan is declared effective by the Debtors. Without limiting the foregoing, any action to be taken
 on the Effective Date may be taken on or as soon as reasonably practicable after the Effective
 Date.

          56.        “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy
 Code.

        57.    “Estimation Procedures Order” means an order of the Bankruptcy Court, which
 shall be in form and substance reasonably acceptable to the Required Preferred Stockholders,
 establishing procedures for setting the Disputed Claims Reserve and the Indemnification Reserve,
 including procedures for estimating Claims filed by the Bar Date that are unliquidated or
 contingent seeking payment that may be in excess of $500,000, Disputed Claims in excess of
 $500,000, and Indemnification Claims, in each instance unless otherwise agreed to by the
 Required Preferred Stockholders.
                                                 7
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10       Filed 09/18/24   Page 13 of 69




       58.     “Estate” means, as to a Debtor, the estate of such Debtor in its Chapter 11 Case
 under sections 301 and 541 of the Bankruptcy Code.

        59.     “Exculpated Parties” means each of the following in their capacity as such: (i) the
 Debtors; and (ii) all officers, directors, employees, agents, attorneys, financial advisors,
 investment bankers, consultants, and other professionals of the foregoing, to the extent such
 parties are or were acting in such capacity between the Petition Date and the Effective Date.

        60.    “Executory Contract” means a prepetition contract or lease to which one or more
 of the Debtors is a party that is subject to assumption or rejection under sections 365 or 1123 of
 the Bankruptcy Code.

        61.    “Federal Judgment Rate” means the federal judgment rate in effect as of the
 Petition Date, calculated as set forth in section 1961 of the Judicial Code.

       62.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with
 the Bankruptcy Court or, with respect to the filing of a Proof of Claim or proof of Interest with
 the Claims and Noticing Agent.

       63.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022
 closing the Chapter 11 Cases.

        64.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court
 or other court of competent jurisdiction with respect to the relevant subject matter, which has not
 been reversed, stayed, modified, or amended, including any order subject to appeal but for which
 no stay of such order has been entered, and as to which the time to appeal or seek certiorari has
 expired and no appeal or petition for certiorari has been timely taken, or as to which any appeal
 that has been taken or any petition for certiorari that has been or may be Filed has been resolved
 by the highest court to which the order or judgment was appealed or from which certiorari was
 sought; provided that the possibility that a request for relief under Rule 60 of the Federal Rules
 of Civil Procedure, or any analogous rule under the Bankruptcy Rules, the local rules of the
 Bankruptcy Court or applicable non-bankruptcy law, may be Filed relating to such order shall not
 prevent such order from being a Final Order.

        65.    “General Unsecured Claim” means any Claim (including any Claim for
 indemnification, reimbursement, or otherwise that is not subject to subordination pursuant to
 section 510(b) of the Bankruptcy Code) against any of the Debtors that is not an Administrative
 Expense Claim, an Other Priority Claim, a Priority Tax Claim, a Secured Claim, a Subordinated
 Notes Claim or a Section 510(b) Claim.

      66.    “Governmental Unit” shall have the meaning set forth in section 101(27) of the
 Bankruptcy Code.

         67.    “Holder” means an Entity holding a Claim or an Interest, as applicable, each solely
 in its capacity as such.


                                                   8
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24    Page 14 of 69




      68.      “Indenture Trustees” means, collectively, the SC Trust I Indenture Trustee and the
 SC Trust II Indenture Trustee.

       69.           “Indentures” means, collectively, the SC Trust I Indenture and the SC Trust II
 Indenture.

       70.     “Indemnification Reserve” means $[__], which amount shall (i) either (x) be set in
 accordance with the Estimation Procedures Order or (y) be subject to the reasonable consent of
 the Required Preferred Stockholders, and (ii) serve as a cap on available distributions under the
 Plan on account of contingent Indemnification Claims for current and former directors, officers
 and employees, and which shall be held in one or more separate accounts from other Liquidation
 Trust Assets.

        71.      “Impaired” means, when used in reference to a Claim or Interest, a Claim or
 Interest that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        72.     “Insurance Policies” means any and all known and unknown insurance policies or
 contracts that have been issued at any time to, or that provide coverage in any capacity to, the
 Debtors or any predecessor, subsidiary, or past or present Affiliate of the Debtors, as an insured
 (whether as the first named insured, a named insured or an additional insured), or otherwise
 alleged to afford the Debtors insurance coverage, and all agreements, documents or instruments
 related thereto, including but not limited to, the D&O Liability Insurance Policies and/or any
 agreements with third-party administrators.

        73.     “Insurer” means any company or other entity that issued any Insurance Policies,
 any third-party administrators of claims against the Debtors or asserted under the Insurance
 Policies, and any respective predecessors and/or affiliates thereof.

       74.           “Intercompany Claim” means a Claim held by any Debtor against any other
 Debtor.

          75.        “Intercompany Interest” means an Interest held by a Debtor in another Debtor.

         76.     “Interest” means any common stock, limited liability company interest, equity
 security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
 interests, unit, or share in any Debtor (including all issued, unissued, authorized, or outstanding
 shares of Common Stock, Preferred Stock, or capital stock of the Debtors and any other rights,
 options, warrants, stock appreciation rights, restricted stock units, redemption rights, repurchase
 rights, convertible, exercisable, or exchangeable securities or other agreements, arrangements or
 commitments of any character relating to, or whose value is related to, any such interest or other
 ownership interest in any Debtor), whether or not arising under or in connection with any
 employment agreement, plan or program implemented by the Debtors, and whether or not
 certificated, transferable, preferred, common, voting, or denominated “stock” or a similar
 security. In the interest of clarity, Interests include any and all ownership interests in any Debtor
 arising under or in connection with any employment agreement, plan or program implemented by
 the Debtors that has vested or that would have vested but for the freezing of any such award as a
 result of or connection with the Chapter 11 Cases.
                                                     9
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10     Filed 09/18/24    Page 15 of 69




       77.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended,
 and any applicable rulings, regulations (including temporary and proposed regulations)
 promulgated thereunder, judicial decisions, and notices, announcements, and other releases of the
 United States Treasury Department or the IRS.

          78.        “IRS” means the United States Internal Revenue Service.

          79.        “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

          80.        “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       81.     “Liquidation Trust” means that certain trust established pursuant to Article VI
 hereof and the Liquidation Trust Agreement to, among other things, hold the Liquidation Trust
 Assets, make Distributions to holders of Allowed Preferred Stock Interests pursuant to this Plan,
 and wind down the Debtors after the Effective Date.

       82.     “Liquidation Trust Agreement” means the trust agreement governing the
 Liquidation Trust, which shall be in form and substance acceptable to the Required Preferred
 Stockholders, which shall be filed with the Plan Supplement.

        83.     “Liquidation Trust Assets” means (a) all remaining Assets of each of the Debtors
 that have not been sold, abandoned or distributed prior to the Effective Date and following
 funding of: (i) the Professional Fee Escrow Account, (ii) all distributions to holders of Allowed
 Claims in accordance with the Plan, (iii) the Disputed Claims Reserve, (iv) the Data Retention
 and Production Reserve, (v) the Indemnification Reserve; (vi) the Liquidation Trust Initial
 Funding; (vii) the Bhatia Litigation Settlement Fund; and (vii) the Preferred Stock Initial
 Distributable Amount; (b) all assets recovered by the Liquidation Trustee on behalf of the
 Liquidation Trust on or after the Effective Date through enforcement, resolution, settlement,
 collection, return, or otherwise; (c) all Causes of Action of the Debtors or the Estates, other than
 those expressly released pursuant to this Plan; (d) any proceeds resulting from the Liquidation
 Trustee’s investment of the Liquidation Trust Assets on or after the Effective Date owned by the
 Debtors on the Effective Date; all amounts remaining after satisfaction of the applicable Allowed
 Claims from the Professional Fee Escrow Account, the Disputed Claims Reserve, the Data
 Retention and Protection Reserve, and the Indemnification Reserve, which shall automatically
 vest in the Liquidation Trust.

        84.    “Liquidation Trust Beneficial Interests” means the beneficial interests in the
 Liquidation Trust that shall entitle the holders thereof to receive Distributions from the
 Liquidation Trust Assets in accordance with the Plan and Liquidation Trust Agreement, which,
 among other things, shall provide for distribution among Liquidation Trust Beneficiaries. The
 Liquidation Trust Beneficial Interests shall not be certificated and shall be subject to the
 limitations on transferability and other matters as set forth in this Plan or the Liquidation Trust
 Agreement.

       85.     “Liquidation Trust Beneficiaries” shall mean holders of Liquidation Trust
 Beneficial Interests.

                                                     10
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO       Doc 10     Filed 09/18/24   Page 16 of 69




       86.      “Liquidation Trust Expenses” means any and all reasonable fees, costs and
 expenses incurred by the Liquidation Trust or the Liquidation Trustee (or any Professional or
 other Person retained by the Liquidation Trustee) on or after the Effective Date in connection
 with any of their duties under the Plan and the Liquidation Trust Agreement, including any
 administrative fees, attorneys’ fees and expenses, insurance fees, taxes and escrow expenses
 subject to the terms of the Liquidation Trust Agreement.

        87.    “Liquidation Trust Initial Funding” means [$__], which amount shall be subject
 to the consent of the Required Preferred Stockholders, which shall fund the Liquidation Trust
 Expenses in accordance with the terms of the Liquidation Trust Agreement.

       88.     “Liquidation Trustee” means such Person as designated by the Required Preferred
 Stockholders, and shall be identified in the Plan Supplement.

        89.   “Other Priority Claim” means any Claim against any Debtor entitled to priority in
 right of payment under section 507(a) of the Bankruptcy Code, other than (i) an Administrative
 Expense Claim or (ii) a Priority Tax Claim.

          90.        “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy
 Code.

          91.        “Petition Date” means the date on which the Chapter 11 Cases were commenced.

        92.     “Plan” means this Joint Chapter 11 Plan of Silvergate Capital Corporation and Its
 Affiliated Debtors (including the Plan Supplement and all exhibits hereto and thereto), as the same
 may be amended, modified, supplemented, or amended and restated from time to time, which
 shall be in form and substance reasonably acceptable to the Required Preferred Stockholders.

       93.    “Plan Objection Deadline” means the date established by the Bankruptcy Court by
 which objections to Confirmation of the Plan must be Filed.

        94.     “Plan Supplement” means the compilation of documents and forms of documents,
 schedules, and exhibits to the Plan, as may be amended, modified, or supplemented from time to
 time, each of which shall be in form and substance materially consistent with this Plan, and
 otherwise acceptable to the Debtors and the Required Preferred Stockholders. The Debtors shall
 be entitled to amend such documents in accordance with their respective terms and Article XII of
 this Plan through and including the Effective Date.

      95.     “Post-Effective Date Debtors” means the Debtors, or any successors thereto, by
 merger, consolidation, or otherwise, on or after the Effective Date.

       96.     “Post-Petition Interest” means interest, with respect to Holders of Allowed
 General Unsecured Claims, accruing from the later of (i) the Petition Date and (ii) the date on
 which such amounts first became due and owing by the applicable Debtor, until the date the
 applicable Distribution to such Holder of an Allowed General Unsecured Claim is issued.



                                                    11
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO         Doc 10    Filed 09/18/24     Page 17 of 69




        97.   “Preferred Stock” means the 5.375% Fixed Rate Non-Cumulative Perpetual
 Preferred Stock, Series A, authorized by the Articles of Incorporation of Silvergate Capital
 Corporation and governed by the Certificate of Designation.

        98.    “Preferred Stock Initial Distributable Amount” means all Cash remaining on the
 Effective Date, after payment in full of all Allowed Claims and after giving effect to the funding
 of the Professional Fee Escrow Account, the Disputed Claims Reserve, the Indemnification
 Reserve, the Data Retention and Production Reserve, the Bhatia Litigation Settlement Fund and
 the Liquidation Trust Initial Funding.

          99.        “Preferred Stock Interests” means Interests in Preferred Stock.

        100. “Preferred Stock Liquidation Preference” means the Liquidation Preference set
 forth and defined in (and in accordance with the terms of) the Certificate of Designation, including
 under Section 5 thereof.

        101. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

        102. “Pro Rata” means, the proportion that an Allowed Claim or an Allowed Interest in
 a particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that
 Class.

        103. “Professional” means an Entity (i) employed pursuant to a Bankruptcy Court order
 in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for
 services rendered before or on the Effective Date, pursuant to sections 327, 328, 329, 330, 331,
 or 363 of the Bankruptcy Code; or (ii) awarded compensation and reimbursement by the
 Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

       104. “Professional Fee Claims” means all Claims for fees and expenses incurred by a
 Professional on or after the Petition Date through the Effective Date.

       105. “Professional Fee Escrow Account” means an interest-bearing account funded by
 the Debtors with Cash on the Effective Date equal to the estimated amount of unpaid Professional
 Fee Claims to be incurred prior to the Effective Date.

       106. “Proof of Claim” means a proof of Claim or Interest that is Filed against any of the
 Debtors in the Chapter 11 Cases.

        107. “Quarterly Fees” means the quarterly fees required to be paid to the Office of the
 United States Trustee pursuant to section 1930 of title 28 of the United States Code and any
 interest thereon pursuant to 31 U.S.C. § 3717.

        108. “Released Party” means each of the following in their capacity as such: (i) the
 Debtors; (ii) the Post-Effective Date Debtors; (iii) each of the Debtors’ Estates; (iv) the Ad Hoc
 Preferred Stockholder Group and each of its members, in their capacity as such, (v) the
 Liquidation Trustee, and (vi) with respect to each of the foregoing Entities in clauses (i) through
                                                      12
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10       Filed 09/18/24         Page 18 of 69




    (v), their respective current and former officers, directors, employees, attorneys, accountants,
    investment bankers, consultants and other professionals, each in its capacity as such; provided
    that, notwithstanding anything in the foregoing, any Person or Entity that is entitled to vote on
    the Plan and either votes to reject the plan or opts out of the releases provided by the Plan shall
    not be a Released Party.4

            109. “Releasing Party” means each of the following in their capacity as such: (i) the
    Released Parties (other than the Debtors, the Post-Effective Date Debtors, the Debtor’s Estates
    and the Liquidation Trustee), (ii) all Holders of Claims or Interests that vote to accept the Plan,
    (iii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject the
    Plan and do not opt out of the third party releases provided for in Article IX.C by checking the
    box on the applicable Ballot or form indicating that they opt out of granting such releases in the
    Plan submitted on or before the Voting Deadline; (iv) all Holders of Claims or Interests that are
    deemed to accept the Plan and do not opt out of the third party releases provided for in Article
    IX.C by checking the box on the applicable Ballot or form indicating that they opt out of granting
    such releases in the Plan submitted on or before the Voting Deadline and (v) with respect to each
    of the foregoing Entities in clauses (i), (ii), (iii) and (iv), such Entity and its current and former
    Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors,
    managers, officers, predecessors, successors, and assigns, subsidiaries, and each of their
    respective current and former equity holders, officers, directors, managers, principals, members,
    employees, agents, advisory board members, financial advisors, partners, attorneys, accountants,
    managed accounts or funds, management companies, fund advisors, investment bankers,
    consultants, representatives, and other professionals, each in its capacity as such; provided,
    however, that the Entities identified in part (v) shall be Releasing Parties only to the extent the
    corresponding Entities in parts (i), (ii), (iii) and (iv) are legally able to bind such Entities in part
    (v) to the releases contained in the Plan under applicable law.

           110. “Retained Causes of Action” means the Causes of Action listed or described in the
    Schedule of Retained Causes of Action filed in connection with the Plan Supplement, including
    (i) Causes of Action against Holders of Claims, vendors, and customers; (ii) any Cause of Action
    based in whole or in part upon any and all insurance contracts, insurance policies, occurrence and
    claims made policies, occurrence and claims made contracts, and similar agreements to which
    any Debtor, Post-Effective Date Debtor or the Liquidation Trust is or was a party or pursuant to
    which any Debtor, Post-Effective Date Debtor or the Liquidation Trust has any rights whatsoever,
    including the Insurance Policies, and (iii) all other Causes of Action listed or described in the
    Schedule of Retained Causes of Action filed in connection with the Plan Supplement.

          111. “RSA” means that certain Restructuring Support Agreement, dated September 17,
    2024, by and among the Debtors and certain holders of the Preferred Stock Interests that are
    signatory thereto.



4
       This definition and any related provision in this Plan remain subject to an ongoing investigation. The Debtors
       shall consult with the Supporting Preferred Stockholders prior to agreeing to or implementing any settlement,
       release or other resolution of any Causes of Action arising from any investigation.
                                                           13
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO              Doc 10       Filed 09/18/24        Page 19 of 69




          112. “Required Preferred Stockholders” means 50% of the holders of the Preferred
    Stockholder Interests that are parties to the RSA from time to time.

           113. “SC Trust I” means Silvergate Capital Trust I, a statutory business trust formed
    under the Delaware Statutory Trust Act pursuant to the SC Trust I Declaration of Trust and a
    Certificate of Trust filed with the Secretary of State of the State of Delaware on June 27, 2001.

          114.       “SC Trust I Claim” means any Claim arising out of or related to the SC Trust I
    Indenture.5

           115. “SC Trust I Declaration of Trust” means that certain Declaration of Trust, dated
    as of June 27, 2001, as amended and restated by the Amended and Restated Declaration of Trust,
    dated as of July 16, 2001 (as further amended or supplemented from time to time) relating to SC
    Trust I.

          116. “SC Trust I Indenture” means that certain Indenture, dated as of July 16, 2001,
    between Silvergate Capital Corporation and SC Trust I Indenture Trustee.

           117.      “SC Trust I Indenture Trustee” means the Bank of New York.

          118. “SC Trust I Subordinated Debentures” means the Floating Rate Junior
    Subordinated Deferrable Interest Debentures due 2031, outstanding under the SC Trust I
    Indenture.

          119. “SC Trust I Preferred Securities” means those certain Floating Rate TruPS issued
    pursuant to the SC Trust I Declaration of Trust.

          120. “SC Trust II” means Silvergate Capital Trust II, a statutory trust formed under the
    Delaware Statutory Trust Act pursuant to the SC Trust II Declaration of Trust and a Certificate
    of Trust filed with the Secretary of State of the State of Delaware on January 13, 2005.

          121. “SC Trust II Capital Securities” means those certain Fixed/Floating Rate Capital
    Securities issued pursuant to the SC Trust II Declaration of Trust.

          122.       “SC Trust II Claim” means any Claim arising out of or related to the SC Trust II
    Indenture.6

           123. “SC Trust II Declaration of Trust” means that certain Declaration of Trust, dated
    as of January 13, 2005, as amended and restated by the Amended and Restated Declaration of
    Trust, dated as of January 27, 2005 (as further amended or supplemented from time to time)
    relating to SC Trust II.


5
    For the purposes of this Plan, the SC Trust I Claims shall be deemed to be held by the holders of the SC Trust I
      Preferred Securities in accordance with Article V.E of this Plan.
6
    For the purposes of this Plan, the SC Trust II Claims shall be deemed to be held by the holders of the SC Trust II
      Capital Securities in accordance with Article V.E of this Plan.
                                                            14
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24    Page 20 of 69




       124. “SC Trust II Indenture” means that certain Indenture, dated as of January 27, 2005,
 between Silvergate Capital Corporation and SC Trust II Indenture Trustee.

          125.       “SC Trust II Indenture Trustee” means Wilmington Trust Company.

       126. “SC Trust II Subordinated Debentures” means the Fixed/Floating Rate Junior
 Subordinated Deferrable Interest Debentures due 2035, outstanding under the SC Trust II
 Indenture.

       127. “Schedule of Retained Causes of Action” means a schedule of retained Causes of
 Action filed in connection with the Plan Supplement, in form and substance acceptable to the
 Debtors and the Required Preferred Stockholders.

        128. “Schedules” means, collectively, the schedules of assets and liabilities, schedules
 of Executory Contracts and Unexpired Leases and statements of financial affairs Filed by the
 Debtors on August 1, 2023 pursuant to section 521 of the Bankruptcy Code, as such schedules
 and statements may have been, or in the future may be, amended, modified, or supplemented from
 time to time.

        129. “Section 510(b) Claim” means any Claim against a Debtor subject to subordination
 pursuant to Section 510(b) of the Bankruptcy Code, including claims asserted in connection with
 the Securities Litigation and any claims for indemnification, advancement or reimbursement
 arising in connection with the Securities Litigation.

        130. “Secured” means, when referring to a Claim, a Claim secured by a Lien on property
 in which the applicable Estate has an interest, which Lien is valid, perfected, and enforceable
 pursuant to applicable law or by a Final Order, or that is subject to setoff pursuant to section 553
 of the Bankruptcy Code, to the extent of the value of the applicable creditor’s interest in such
 Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, in
 each case, as determined pursuant to section 506(a) of the Bankruptcy Code.

        131. “Secured Claim” means any Claim: (a) secured by a Lien on property in which the
 Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law
 or by reason of a Bankruptcy Court order to the extent of the value of the creditor’s interest in the
 Estate’s interest in such property as determined pursuant to section 506(a) of the Bankruptcy
 Code, or (b) subject to setoff pursuant to section 553 of the Bankruptcy Code to the extent of the
 amount subject to setoff.

       132. “Securities Litigation” means the litigation proceeding captioned In re Silvergate
 Capital Corp. Securities Litigation, Case No. 3:22-cv-01936-JES-MSB (S.D. Cal.).

          133.       “Security” shall have the meaning set forth in section 101(49) of the Bankruptcy
 Code.

      134. “Subordinated Notes Claims” means, collectively, the SC Trust I Claims and the
 SC Trust II Claims.

                                                     15
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24     Page 21 of 69




       135. “Unimpaired” means, with respect to a Claim or a Class of Claims or Interests, a
 Claim or an Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy
 Code.

      136.           “U.S. Trustee” means the Office of the United States Trustee for the District of
 Delaware.

       137. “Voting Deadline” means [●] (prevailing Eastern time), which date may be
 extended by the Debtors.

B.        Interpretation; Application of Definitions; and Rules of Construction

        For purposes herein: (i) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (ii) except
as otherwise provided herein, any reference herein to a contract, lease, instrument, release,
indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (iii) except as otherwise provided, any reference herein to an
existing document or exhibit having been Filed or to be Filed shall mean that document or exhibit,
as it may thereafter be amended, restated, supplemented, or otherwise modified in accordance with
the Plan; (iv) unless otherwise specified herein, all references herein to “Articles” or “Sections”
are references to Articles or “Sections” of the Plan or hereto; (v) unless otherwise stated herein,
the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular
portion of the Plan; (vi) captions and headings to Articles are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation hereof; (vii) the words
“include” and “including,” and variations thereof, shall not be deemed to be terms of limitation,
and shall be deemed to be followed by the words “without limitation”; (viii) unless otherwise
specified, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply to
the Plan; (ix) any term used in capitalized form herein that is not otherwise defined but that is used
in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in
the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (x) any docket number
references in the Plan shall refer to the docket number of any document Filed with the Bankruptcy
Court in the Chapter 11 Cases; (xi) references to “Proofs of Claim,” “Holders of Claims,”
“Disputed Claims,” and the like shall include “Proofs of Interest,” “Holders of Interests,”
“Disputed Interests,” and the like as applicable; (xii) references to “shareholders,” “directors,”
and/or “officers” shall also include “members” and/or “managers,” as applicable, as such terms
are defined under the applicable state limited liability company laws; (xiii) any immaterial
effectuating provisions may be interpreted by the Debtors in such a manner that is consistent with
the overall purpose and intent of the Plan all without further notice to or action, order, or approval
of the Bankruptcy Court or any other Entity, and such interpretation shall control, provided that
no effectuating provision shall be immaterial or deemed immaterial if it has any substantive legal
or economic effect on any party; and (xiv) except as otherwise provided, any references to the
Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter.



                                                     16
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO       Doc 10    Filed 09/18/24    Page 22 of 69




C.        Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next Business Day.

D.        Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated herein, the laws of the State
of Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
set forth in those agreements, in which case the governing law of such agreement shall control);
provided that corporate or limited liability company governance matters relating to the Debtors,
as applicable, not incorporated or formed (as applicable) in the State of Delaware shall be governed
by the laws of the state of incorporation or formation (as applicable) of the applicable Debtor.

E.        Reference to Monetary Figures

        All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein. Any conversion required to convert
foreign currency to United States dollars shall be done using the applicable exchange rates on the
Petition Date.

F.        Reference to the Debtors or the Post-Effective Date Debtors

        Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Debtors or the Post-Effective Date Debtors shall mean (i) prior to the Effective Date, the
Debtors and, (ii) on or after the Effective Date, the Post-Effective Date Debtors.

G.        Controlling Document

       In the event of an inconsistency between the Plan, on the one hand, and (i) the Disclosure
Statement or (ii) the Plan Supplement, on the other, the terms of the Plan shall control in all
respects. In the event of an inconsistency between the Confirmation Order and the Plan, the
Disclosure Statement, or the Plan Supplement, the Confirmation Order shall control.

                                             ARTICLE II:
                                 ADMINISTRATIVE AND PRIORITY CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, including Professional Fee Claims, and Priority Tax Claims have not been classified and,
thus, are excluded from the classification of Claims and Interests set forth in Article III.



                                                    17
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24      Page 23 of 69




A.        Administrative Expense Claims

        Requests for payment of Administrative Expense Claims must be Filed on or before the
Administrative Expense Claims Bar Date. Except as otherwise ordered by the Bankruptcy Court,
Holders of Administrative Expense Claims that are required to, but do not, file and serve a request
for payment of such Administrative Expense Claims by such date shall be forever barred, estopped,
and enjoined from asserting such Administrative Expense Claims against the Debtors or their
property and such Administrative Expense Claims shall be deemed released against the Debtors
as of the Effective Date. Objections to such requests, if any, must be Filed and served on the
Liquidation Trustee and the requesting party by the Administrative Claims Objection Deadline.

        Except with respect to Administrative Expense Claims that (a) are Professional Fee Claims,
(b) have already been paid during the Chapter 11 Case, or (c) for which the Holder of an Allowed
Administrative Expense Claim has agreed to less favorable treatment, each Holder of an Allowed
Administrative Expense Claim shall receive in full satisfaction of its Administrative Expense
Claim, Cash equal to the amount of such Allowed Administrative Expense Claim either: (i) on the
Effective Date; (ii) if the Administrative Expense Claim is not Allowed as of the Effective Date,
thirty (30) days after the date on which an order Allowing such Administrative Expense Claim
becomes a Final Order, or as soon thereafter as reasonably practicable; or (iii) if the Allowed
Administrative Expense Claim is based on a liability incurred by the Debtors in the ordinary course
of business after the Petition Date, pursuant to the terms and conditions of the particular transaction
or agreement giving rise to such Allowed Administrative Expense Claim, without any further
action by the Holders of such Allowed Administrative Expense Claim and without any further
notice to, or action, order, or approval of, the Bankruptcy Court.

        Pursuant to Local Rule 3002-1, the governmental entity shall not be required to file any
Proof of Claim or applicable for allowance for any Claims covered by section 503(b)(1)(B), (C),
or (D).

B.        Professional Fee Claims

         1.     Final Fee Applications. All final requests for payment of Professional Fee Claims
 incurred during the period from the Petition Date through the Effective Date shall be Filed no
 later than forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the
 Allowed amounts of such Professional Fee Claims after notice and a hearing in accordance with
 the procedures established by the Bankruptcy Code, Bankruptcy Rules, and prior Bankruptcy
 Court orders. The Liquidation Trust (or the authorized signatories to the Professional Fee Escrow
 Account, after consultation with the Liquidation Trust) shall pay the amount of the Allowed
 Professional Fee Claims owing to the Professionals in Cash to such Professionals from funds held
 in the Professional Fee Escrow Account within two (2) Business Days or as soon thereafter as
 reasonably practicable after such Professional Fee Claims are allowed by entry of an order of the
 Bankruptcy Court. To the extent that funds held in the Professional Fee Escrow Account are
 insufficient to satisfy the amount of Professional Fee Claims owing to the Professionals, such
 Professionals shall have an Allowed Administrative Expense Claim for any such deficiency, and
 the Liquidation Trustee, as applicable, shall pay the full unpaid amount of such Allowed
 Administrative Expense Claim in Cash.

                                                   18
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10     Filed 09/18/24      Page 24 of 69




        2.     Professional Fee Claims Estimate. Professionals shall reasonably estimate their
 unpaid Professional Fee Claims incurred in rendering services to the Debtors before and as of the
 Effective Date for the purpose of funding the Professional Fee Escrow Account and shall deliver
 such estimate to the Debtors no later than five (5) days before the anticipated Effective Date;
 provided, however, that such estimate shall not be deemed to limit the amount of the fees and
 expenses that are the subject of any Professional’s final request for payment of Professional Fee
 Claims and such Professionals are not bound to any extent by the estimates. If a Professional does
 not provide an estimate the Debtors may estimate the unpaid and unbilled fees and expenses of
 such Professional. Nothing in the Plan shall preclude any objection by any party to the RSA to
 any Professional Fee Claims that do not comply with the terms of the RSA.

        3.      Professional Fee Escrow Account. Following the Confirmation Date, and no later
 than the Effective Date, the Debtors shall establish and fund the Professional Fee Escrow Account
 with Cash equal to the Professional Fee Reserve Amount. The Professional Fee Escrow Account
 shall be maintained in trust solely for the Professionals and for no other Entities until all
 Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to
 the Professionals pursuant to one or more Final Orders of the Bankruptcy Court. No Liens, claims,
 or interests shall encumber the Professional Fee Escrow Account or Cash held in the Professional
 Fee Escrow Account in any way. Funds held in the Professional Fee Escrow Account shall not be
 considered property of the Estate, the Debtor, the Post-Effective Date Debtor, or the Liquidation
 Trust.

        When all Allowed amounts owing to the Professionals have been irrevocably paid in full
pursuant to one or more Final Orders of the Bankruptcy Court, any amount remaining in the
Professional Fee Escrow Account shall promptly be paid to the Liquidation Trust, without any
further action or order of the Bankruptcy Court.

        4.       Post-Effective Date Fees and Expenses. Except as otherwise specifically provided
 in the Plan, from and after the Effective Date, the Liquidation Trustee shall, in the ordinary course
 of business and without any further notice to, or action, order, or approval of, the Bankruptcy
 Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
 incurred by professionals providing services to the Post-Effective Date Debtors or the Liquidation
 Trustee, as applicable, including the fees and expenses of any of the Debtors’ Professionals
 incurred in addressing or responding to any discovery, trial preparation, or trial in any action, suit,
 proceeding or audit. From and after the Effective Date, any requirement that professionals comply
 with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
 compensation for services rendered after the Effective Date shall terminate.

C.        Ad Hoc Preferred Stockholder Group Expenses

      From and after the Confirmation Date, any outstanding and unpaid Ad Hoc Preferred
Stockholder Group Expenses shall be paid in full in Cash. All outstanding Ad Hoc Preferred
Stockholder Group Expenses, to the extent not previously paid shall be paid on the Effective Date.

        All Ad Hoc Preferred Stockholder Group Expenses to be paid on the Effective Date shall
be estimated, as necessary, prior to or as of the Effective Date and such estimate shall be delivered
to the Debtor; provided that such estimate shall not be considered an admission or limitation with
                                                  19
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 25 of 69




respect to such Ad Hoc Preferred Stockholder Group Expenses. In addition, the Liquidating Trust
is authorized to pay the Ad Hoc Preferred Stockholder Group Expenses, as necessary, after the
Effective Date when due and payable in the ordinary course solely to the extent incurred on or
after the Confirmation Order is entered, without any requirement for review or approval by the
Bankruptcy Court or any Entity.

D.        Statutory Fees

        All Quarterly Fees due and payable and any interest thereon pursuant to section 3717 of
Title 31 of the United States Code prior to the Effective Date shall be paid by the Debtors on the
Effective Date. After the Effective Date, the Chapter 11 Cases of all of the Debtors, other than
Debtor Silvergate Capital Corporation shall be deemed closed and only the Chapter 11 Case of
Silvergate Capital Corporation shall remain open for purposes of administering the resolution of
Disputed Claims, pending litigation, and any Retained Causes of Action by the Liquidation Trust.
All Quarterly Fees shall be paid from the Disputed Claims Reserve when due and payable. The
Debtors shall file all reports due prior to the Effective Date when they become due in the form and
manner prescribed by U.S. Trustee. After the Effective Date, the Liquidation Trustee, for and on
behalf of the Post-Effective Date Debtors and Liquidation Trust, shall file with the Bankruptcy
Court any and all quarterly reports when they become due in the form and manner prescribed by
U.S. Trustee. Each and every one of the Debtors, the Post-Effective Date Debtors, or the
Liquidation Trust shall remain obligated to pay Quarterly Fees to the U.S. Trustee until the earliest
of the Debtors’ cases being closed, dismissed, or converted to a case under Chapter 7 of the
Bankruptcy Code. Notwithstanding anything in the Plan to the contrary, the U.S. Trustee shall not
be required to file any proof of claim for quarterly fees and any interest thereon.

E.        Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim and the applicable
Debtor agree (whether before or after the Effective Date) to a less favorable treatment, in full and
final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority
Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance with
the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code and, for the avoidance of
doubt, Holders of Allowed Priority Tax Claims will receive interest on such Allowed Priority Tax
Claims after the Effective Date in accordance with sections 511 and 1129(a)(9)(C) of the
Bankruptcy Code.

                                  ARTICLE III:
             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.        Summary of Classification of Claims and Interests

        All Claims and Interests, except for Administrative Expense Claims, including
Professional Fee Claims, Quarterly Fees and Priority Tax Claims, are classified in the Classes set
forth in this Article III for all purposes, including voting, Confirmation, and distributions pursuant
to the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or
Interest is classified in a particular Class only to the extent that such Claim or Interest qualifies
within the description of that Class and is classified in other Classes to the extent that any portion
                                                    20
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO                 Doc 10    Filed 09/18/24   Page 26 of 69




of such Claim or Interest qualifies within the description of such other Classes. A Claim or Interest
also is classified in a particular Class for the purpose of receiving distributions pursuant to the Plan
only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class
and has not been paid, released, or otherwise satisfied prior to the Effective Date.

        The classification of Claims and Interests pursuant to the Plan is as set forth below. All of
the potential Classes for the Debtors are set forth herein. Certain of the Debtors may not have
Claims or Interests in a particular Class or Classes, and such Claims shall be treated as set forth in
Article III.B. The Plan shall constitute a separate Plan for each of the Debtors, provided that, the
estates of the various Debtors shall be consolidated for the purpose of effectuating distributions
under the Plan. For all purposes under the Plan, where applicable, each Class contains a sub-Class
for each Debtor. Certain of the Debtors may not have Holders of Claims or Interests in a particular
Class or Classes, and such Classes shall be treated as set forth in Article III.C. Voting tabulations
for recording acceptances or rejections of the Plan shall be conducted on a Debtor-by-Debtor basis
as set forth above. Only Debtor Silvergate Capital Corporation has any voting classes.

       The classification of Claims and Interests against each Debtor (as applicable) pursuant to
the Plan is as follows:

     Class                         Claim / Interest                  Status         Voting Rights
                                                                                  Not Entitled to Vote
        1                       Other Priority Claims              Unimpaired
                                                                                  (Deemed to Accept)
                                                                                  Not Entitled to Vote
        2                           Secured Claims                 Unimpaired
                                                                                  (Deemed to Accept)
                                                                                  Not Entitled to Vote
        3                   General Unsecured Claims               Unimpaired
                                                                                  (Deemed to Accept)
                                                                                  Not Entitled to Vote
        4                   Subordinated Note Claims               Unimpaired
                                                                                  (Deemed to Accept)
                                                                                  Not Entitled to Vote
        5                       Intercompany Claims                Unimpaired    (Deemed to Accept or
                                                                                   Deemed to Reject)
                                                                                  Not Entitled to Vote
        6                      Intercompany Interests              Unimpaired    (Deemed to Accept or
                                                                                   Deemed to Reject)
        7                     Preferred Stock Interests             Impaired        Entitled to Vote
                                                                                  Not Entitled to Vote
        8                     Common Stock Interests                Impaired
                                                                                  (Deemed to Reject)
                                                                                  Not Entitled to Vote
        9                      Section 510(b) Claims                Impaired
                                                                                  (Deemed to Reject)
                                                                                 Note Entitled to Vote
       10                 Bhatia Litigation Class Claim            Unimpaired
                                                                                  (Deemed to Accept)

B.          Treatment of Claims and Interests

            1.       Class 1 – Other Priority Claims
                                                              21
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10     Filed 09/18/24     Page 27 of 69




                     a.         Classification: Class 1 consists of all Other Priority Claims against the
                                Debtors.

                     a.         Treatment: Each Holder of an Allowed Other Priority Claim shall receive
                                on account thereof payment of the full amount of such Allowed Other
                                Priority Claim in Cash or otherwise receive treatment consistent with the
                                provisions of section 1129(a) of the Bankruptcy Code, except to the extent
                                the Holder of an Allowed Other Priority Claim agrees to less favorable
                                treatment.

                     b.         Voting: Class 1 is Unimpaired, and Holders of Other Priority Claims are
                                conclusively deemed to have accepted the Plan pursuant to section 1126(f)
                                of the Bankruptcy Code. Therefore, Holders of Class 1 Secured Claims are
                                not entitled to vote to accept or reject the Plan.

          2.         Class 2 – Secured Claims

                     a.         Classification: Class 2 consists of all Secured Claims against the Debtors.

                     b.         Treatment: Each Holder of an Allowed Secured Claim shall receive on
                                account of such Claim at the Liquidation Trustee’s exclusive election,
                                except to the extent that any Holder of an Allowed Secured Claim agrees to
                                less favorable treatment therefor, either: (i) Cash equal to the amount of
                                such Allowed Secured Claim, including Post-Petition Interest at the Federal
                                Judgment Rate; (ii) the property that serves as security for such Allowed
                                Secured Claim; or (iii) such other treatment that shall render such Allowed
                                Secured Claims Unimpaired pursuant to section 1124 of the Bankruptcy
                                Code (which may include reinstatement). Any portion of any Secured Claim
                                that is not secured by collateral or the proceeds thereof shall constitute a
                                General Unsecured Claim to the extent it is allowed.

                     c.         Voting: Class 2 is Unimpaired, and Holders of Secured Claims are
                                conclusively deemed to have accepted the Plan pursuant to section 1126(f)
                                of the Bankruptcy Code. Therefore, Holders of Class 2 Secured Claims are
                                not entitled to vote to accept or reject the Plan.

          3.         Class 3 – General Unsecured Claims

                     a.         Classification: Class 3 consists of all General Unsecured Claims against the
                                Debtors.

                     b.         Treatment: Each Holder of an Allowed General Unsecured Claim shall
                                receive on account of such Claim at the Liquidation Trustee’s exclusive
                                election, except to the extent that any Holder of an Allowed General
                                Unsecured Claim agrees to less favorable treatment therefor, either: (i) Cash
                                equal to the amount of such Allowed General Unsecured Claim, including
                                Post-Petition Interest at the Federal Judgment Rate; or (ii) such other
                                                          22
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10     Filed 09/18/24     Page 28 of 69




                                treatment that shall render such Allowed General Unsecured Claim
                                unimpaired pursuant to section 1124 of the Bankruptcy Code.

                     c.         Voting: Class 3 is Unimpaired, and Holders of General Unsecured Claims
                                are conclusively deemed to have accepted the Plan pursuant to section
                                1126(f) of the Bankruptcy Code. Therefore, Holders of Class 3 General
                                Unsecured Claims are not entitled to vote to accept or reject the Plan.

          4.         Class 4 – Subordinated Note Claims

                     a.         Classification: Class 4 consists of all Subordinated Notes Claims.

                     b.         Allowance: Subordinated Notes Claims shall be Allowed in the aggregate
                                outstanding principal amount of $15,980,000, plus accrued and unpaid
                                interest to an including the Effective Date at the non-default Contract Rate.

                     c.         Treatment: Each Holder of an Allowed Subordinated Notes Claim shall
                                receive on account of such Claim at the Liquidation Trustee’s exclusive
                                election, except to the extent that any Holder of an Allowed Subordinated
                                Notes Claim agrees to less favorable treatment therefor, either: (i) Cash
                                equal to the amount of such Allowed Subordinated Notes Claim; or (ii) such
                                other treatment that shall render such Allowed Subordinated Notes Claim
                                unimpaired pursuant to section 1124 of the Bankruptcy Code.

                     d.         Voting: Class 4 is Unimpaired, and Holders of Subordinated Notes Claims
                                are conclusively deemed to have accepted the Plan pursuant to section
                                1126(f) of the Bankruptcy Code. Therefore, Holders of Class 4
                                Subordinated Notes Claims are not entitled to vote to accept or reject the
                                Plan.

          5.         Class 5 – Intercompany Claims

                     a.         Classification: Class 5 consists of all Intercompany Claims.

                     b.         Treatment: Each Intercompany Claim shall be, at the option of the Debtors,
                                reinstated, set off, settled, distributed, contributed, cancelled, or released
                                without any distribution on account of such Intercompany Claim, or such
                                other treatment as is reasonably determined by the Debtors.

                     c.         Voting: Holders of Claims in Class 5 are conclusively deemed to have
                                accepted or rejected the Plan pursuant to section 1126(f) or section 1126(g)
                                of the Bankruptcy Code, respectively. Therefore, Holders of Intercompany
                                Claims are not entitled to vote to accept or reject the Plan.

          6.         Class 6 – Intercompany Interests

                     a.         Classification: Class 6 consists of all Intercompany Interests.

                                                          23
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10     Filed 09/18/24      Page 29 of 69




                     b.         Treatment: Each Intercompany Interest shall be, at the option of the
                                Debtors, reinstated, set off, settled, distributed, contributed, cancelled, or
                                released without any distribution on account of such Intercompany Interest,
                                or such other treatment as is reasonably determined by the Debtors.

                     c.         Voting: Holders of Interests in Class 6 are conclusively deemed to have
                                accepted or rejected the Plan pursuant to section 1126(f) or section 1126(g)
                                of the Bankruptcy Code, respectively. Therefore, Holders of Intercompany
                                Interests are not entitled to vote to accept or reject the Plan.

          7.         Class 7 – Preferred Stock Interests

                     a.         Classification: Class 7 consists of all Preferred Stock Interests in Silvergate
                                Capital Corporation.

                     b.         Treatment: Except to the extent that a holder of an Allowed Preferred Stock
                                Interest agrees to less favorable treatment, in full and final satisfaction,
                                settlement, and release of, and in exchange for its Allowed Preferred Stock
                                Interest each such holder thereof shall receive on the Effective Date (a) such
                                holder’s Pro Rata share of Liquidation Trust Beneficial Interests and (b)
                                such holder’s Pro Rata share of the Preferred Stock Initial Distributable
                                Amount.

                     c.         Voting: Class 7 is Impaired. Holders of Allowed Preferred Stock Interests
                                are entitled to vote to accept or reject the Plan.

          8.         Class 8 – Common Stock Interests

                     a.         Classification: Class 8 consists of all Common Stock Interests in the
                                Debtors.

                     b.         Treatment: On the Effective Date, all Allowed Common Stock Interests
                                shall be extinguished, cancelled, and released and not entitled to
                                Distribution or any recovery under the Plan.

                     a.         Voting: Class 8 is Impaired, and holders of Allowed Common Stock
                                Interests are conclusively deemed to have rejected the Plan pursuant to
                                section 1126(g) of the Bankruptcy Code. Therefore, holders of Allowed
                                Common Stock Interests are not entitled to vote to accept or reject the Plan,
                                and the votes of such holders will not be solicited with respect to such
                                Allowed Common Stock Interests.

          9.         Class 9 – Section 510(b) Claims

                     a.         Classification: Class 9 consists of all Section 510(b) Claims against the
                                Debtors.


                                                          24
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10     Filed 09/18/24      Page 30 of 69




                     b.         Allowance: Notwithstanding anything to the contrary herein, a Section
                                510(b) Claim, if any such Section 510(b) Claim exists, may only become
                                Allowed by Final Order of the Bankruptcy Court.

                     c.         Treatment: On the Effective Date, all Allowed Section 510(b) Claims, if
                                any, shall be extinguished, cancelled, and released and not entitled to
                                Distribution or any recovery under the Plan.

                     d.         Voting: Class 9 is Impaired, and holders (if any) of Allowed Section 510(b)
                                Claims are conclusively deemed to have rejected the Plan pursuant to
                                section 1126(g) of the Bankruptcy Code. Therefore, holders (if any) of
                                Allowed Section 510(b) Claims are not entitled to vote to accept or reject
                                the Plan, and the votes of such holders (if any) will not be solicited with
                                respect to such Allowed Section 510(b) Claims.

          10.        Class 10 – Bhatia Litigation Class Claim

                     a.         Classification: Class 10 consists of the Bhatia Litigation Class Claim
                                against the Debtors.

                     b.         Allowance: Upon entry of the Bhatia Litigation Final Approval Order, and
                                without the filing of a proof of claim, the Bhatia Litigation Class Claim shall
                                be Allowed as a single class Claim in the amount of the Settlement Fund.

                     c.         Treatment: Upon entry of the Bhatia Litigation Final Approval Order, the
                                Bhatia Litigation Class Claim shall be entitled to receive the Settlement
                                Fund, to be paid by the Debtors and distributed in accordance with the
                                Bhatia Litigation Final Approval Order in full and complete settlement and
                                satisfaction of the Bhatia Litigation Class Claim.

                                The Debtors understand that Bhatia Litigation Class Members may be
                                provided with the option to opt-out of the Bhatia Litigation Settlement. Any
                                Claims of putative Bhatia Litigation Class Members that opt-out of the
                                Bhatia Litigation Settlement be treated as General Unsecured Claims and
                                shall receive the treatment provided in the Plan to General Unsecured
                                Claims if such Claims become Allowed.

                     d.         Voting: Class 10 is Unimpaired, and holders of Bhatia Litigation Claim are
                                conclusively deemed to have accepted the Plan pursuant to section 1126(f)
                                of the Bankruptcy Code. Therefore, Holders of Class 10 Claims are not
                                entitled to vote to accept or reject the Plan.

C.        Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the
date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting
                                                          25
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 31 of 69




to accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

D.        Separate Classification of Secured Claims

        Each Secured Claim, to the extent secured by a Lien on collateral different from the
collateral securing another Secured Claim, shall be treated as being in a separate sub-Class for
purposes of receiving distributions under this Plan.

E.        Voting Classes; Presumed Acceptance by Non-Voting Classes

        If a Class contains Claims or Interests eligible to vote and no Holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Plan shall be presumed accepted
by such Class.

F.        Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                          ARTICLE IV:
 ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY ONE
            OR MORE CLASSES OF CLAIMS OR INTERESTS

A.        Classes Entitled to Vote

        Holders of Preferred Stock Interests (Class 7) are entitled to vote on the Plan. Any Holder
of an Interest that has been objected to may file a motion pursuant to Bankruptcy Rule 3018 for an
order temporarily allowing such Interest solely for purposes of voting to accept or reject the Plan
in accordance with the procedures to be set forth in the order approving the Disclosure Statement,
including any deadlines set forth therein. Class 1, Class 2, Class 4, Class 5, and Class 6 are deemed
to have accepted the Plan.

        The Debtors have requested that the Bankruptcy Court adopt a presumption that if no
Holder of a Claim or Interest in a Class of Claims or Interests eligible to vote in a particular Class
timely submits a timely Ballot to accept or reject the Plan, then the applicable Class will be deemed
to have accepted the Plan. Accordingly, if any Holder of a Claim or Interest in Class 7 does not
wish such a presumption to apply with respect to any Class for which such Holder holds a Claim,
then the Holder should timely submit a Ballot accepting or rejecting the Plan for any such Class.

B.        Class Acceptance Requirement

      Class 7 shall have accepted the Plan if the Plan is accepted by at least two-thirds (2/3) in
amount in such Class that have voted on the Plan.



                                                   26
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO            Doc 10   Filed 09/18/24   Page 32 of 69




C.        Cramdown and No Unfair Discrimination

        In the event that any impaired Class of Claims or Interests rejects the Plan or is deemed to
have rejected the Plan, the Debtors hereby request, without any delay in the occurrence of the
Confirmation Hearing or Effective Date, that the Bankruptcy Court confirm the Plan in accordance
with section 1129(b) of the Bankruptcy Code with respect to such non-accepting Class, in which
case the Plan shall constitute a motion for such relief.

                                                  ARTICLE V:
                                          MEANS FOR IMPLEMENTATION

A.        Consolidation for Distribution Purposes Only

         The Plan shall serve as, and shall be deemed to be, a motion for entry of an order
substantively consolidating the Debtors’ Chapter 11 Cases for the limited purpose of making
Distributions. For all other purposes, this Plan is being proposed as a joint chapter 11 plan of the
Debtors for administrative purposes only and constitutes a separate chapter 11 plan for each Debtor
in all respects other than for Distributions. Upon the entry of the Confirmation Order, the claims
register maintained in the various Chapter 11 Cases shall be deemed consolidated into a single
claims register in respect of the consolidated Estate. Further, Claims asserted against multiple
Debtors, including Claims based on joint and several liability and guarantee and/or surety Claims
shall be deemed to constitute a single Claim against the consolidated Estate. Notwithstanding the
substantive consolidation for the limited purpose of making Distributions contemplated herein, on
and after the Effective Date the Debtors will each continue as separate post-effective date entities
after emergence from the Chapter 11 Cases.

B.        Sources of Consideration for Distributions

       Cash payments or cash distributions to be made hereunder on the Effective Date shall be
funded from the existing cash of the Debtor. All other assets of the Debtors and property of the
Debtors’ estates shall constitute Liquidation Trust Assets and shall vest in the Liquidation Trust
on the Effective Date.

C.        Establishing Disputed Claims Reserve and Indemnification Reserve

        On the Effective Date, the Debtors or the Post-Effective Date Debtors, as applicable, shall
make all distributions to holders of Allowed Claims and Interests and transfer the Liquidation Trust
Assets to the Liquidation Trust. In order to effectuate the terms of this Plan and to avoid undue
delay in the administration of the Chapter 11 Cases, unless otherwise agreed to by the Required
Preferred Stockholders, the Debtors shall have sought and obtained estimation of all Claims,
including any Indemnification Claims (other than Allowed Claims and Section 510(b) Claims
(which, in the case of Section 510(b) Claims, shall not receive any recovery under the Plan)) timely
filed against the Debtors that are contingent and/or unliquidated or asserted in amounts in excess
of $500,000, which estimated amount of such Claim, as determined by the Bankruptcy Court, shall
serve as either the Allowed amount of the applicable Claim or a cap on any recovery by the holders
of such estimated Claims (the “Estimated Amount”). The Estimated Amount of the
Indemnification Claims shall serve as the amount required to be set aside for the Indemnification
                                                27
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 33 of 69




Reserve unless otherwise agreed to amongst the applicable indemnitees, the Debtors and the
Required Preferred Stockholders. All other Estimated Amounts shall be set aside for purposes of
the Disputed Claims Reserve.

D.        Dissolution and Board of Directors

        On the Effective Date, the Liquidation Trustee shall be appointed for the purpose of
conducting carrying out the provisions of the Plan and winding down the Post-Effective Date
Debtors. The Debtors shall be authorized to be (and, upon the conclusion of their affairs shall be)
dissolved by the Liquidation Trustee. The Liquidation Trustee shall act for the Debtors in the same
fiduciary capacity as applicable to a board of directors, members or managers, and officers, subject
to the provisions hereof (and all certificates of formation, membership agreements, articles of
incorporation or amendment by-laws, and related documents, as applicable, are deemed amended
pursuant to the Plan to permit and authorize the same). From and after the Effective Date, the
Liquidation Trustee shall be the sole representative of and shall act for the Post-Effective Date
Debtors and the Estates.

         Upon a certification to be Filed with the Bankruptcy Court by the Liquidation Trustee of
all distributions having been made and completion of all its duties under the Plan and entry of a
final decree closing the last of the Chapter 11 Cases, the Liquidation Trust shall be deemed to be
dissolved without any further action by the Liquidation Trustee, including the filing of any
documents with the secretary of state for the state in which the Debtors are incorporated or formed
or any other jurisdiction. Notwithstanding the foregoing, the Liquidation Trustee shall retain the
authority to take all necessary actions to dissolve the Debtors in, and withdraw the Debtors from,
applicable states and provinces to the extent required by applicable law.

E.        Exemption from Registration

        The Debtors believe that, subject to certain exceptions described below, various provisions
of the Securities Act, the Bankruptcy Code and applicable state securities laws (“Blue Sky Laws”)
exempt from federal and state securities registration requirements (i) the offering, issuance,
exchange, distribution or sale of securities (to the extent Liquidation Trust Beneficial Interests are
considered “securities” under applicable law) pursuant to the Plan and (ii) subsequent transfers of
such securities.

       The Liquidation Trust Beneficial Interests to be distributed to the Liquidation Trust
Beneficiaries pursuant to this Plan shall be transferrable as set forth in the Liquidation Trust
Agreement. The Liquidation Trust Beneficial Interests shall not be listed on any national exchange
and shall have the consent and voting rights provided in the Liquidation Trust Agreement. The
Liquidation Trust shall not take any steps to facilitate the development of a trading market in the
Liquidation Trust Beneficial Interests.

        1.     Section 1145. Except with respect to any Person that is an underwriter as defined
 in section 1145(b) of the Bankruptcy Code or otherwise issued in reliance on section 4(a)(2) of
 the Securities Act (“Section 4(a)(2)”) as elected by the Debtor, the issuance of the Liquidation
 Trust Beneficial Interests to Liquidation Trust Beneficiaries under the Plan (to the extent the
 Liquidation Trust Beneficial Interests are considered “securities” under applicable law) shall be
                                                28
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24      Page 34 of 69




 exempt from registration under section 5 of the Securities Act (and any applicable Blue Sky Laws)
 under section 1145(a)(1) of the Bankruptcy Code.

        Section 1145(a)(1) of the Bankruptcy Code exempts the issuance, offer, sale, and
distribution of securities under a chapter 11 plan from registration under section 5 of the Securities
Act and state or local securities laws if the following three principal requirements are satisfied: (a)
the securities must be offered and sold under a chapter 11 plan must be securities of the debtor, of
an affiliate participating in a joint plan with the debtor, or of a successor to the debtor under the
plan; (b) the recipients of the securities must hold prepetition or administrative expense claims
against the debtor or interests in the debtor; and (c) the securities must be issued entirely in
exchange for the recipient’s claim against or interest in the debtor, or principally in exchange for
such claim or interest and partly for cash or property.

        To the extent the issuance and distribution of the Liquidation Trust Beneficial Interests are
made under the requirements of section 1145 of the Bankruptcy Code (and, to the extent such
Liquidation Trust Beneficial Interests are deemed securities under applicable law), such issuance
and distribution are exempt from registration under the Securities Act and any state or local law
requiring registration. The availability of the exemptions under section 1145 of the Bankruptcy
Code or any other applicable securities laws shall not be a condition to occurrence of the Effective
Date of the Plan. To the extent section 1145 of the Bankruptcy Code is applicable, the securities
to be issued under the Plan (a) are not “restricted securities” as defined in Rule 144(a)(3) under
the Securities Act, and (b) in general are freely tradable and transferable by any initial recipient
thereof that (i) is not an “affiliate” of the Debtors as defined in Rule 144(a)(1) under the Securities
Act, (ii) has not been such an “affiliate” within 90 days of such transfer, and (iii) is not an entity
that is an “underwriter” as defined in section 1145(b) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act. In addition, securities
governed by section 1145 of the Bankruptcy Code generally may be able to be resold without
registration under applicable Blue Sky Laws pursuant to various exemptions provided by the
respective Blue Sky Laws of the various states; however, the availability of such exemptions
cannot be known unless individual states’ Blue Sky Laws are examined, and recipients of securities
are advised to consult with their own legal advisors as to the availability of any such exemption
from registration in any given instance. Notwithstanding the foregoing, any securities or
instruments issued under the Plan in reliance on section 1145(a) of the Bankruptcy Code remain
subject to: (x) compliance with any rules and regulations of the SEC, if any, applicable at the time
of any future transfer of such securities or instruments; (y) the restrictions in the Liquidation Trust
Agreement on the transferability of the Liquidation Trust Beneficial Interests and (z) any other
applicable regulatory approval.

        2.      Section 4(a)(2). To the extent securities are issued pursuant to the Plan in reliance
 on Section 4(a)(2), the offering, issuance, exchange, or distribution of such securities pursuant to
 the Plan shall be conducted in a manner that is exempt from, among other things, the registration
 requirements of section 5 of the Securities Act. Section 4(a)(2) exempts from section 5’s
 registration requirements transactions not involving a public offering, and Regulation D under the
 Securities Act (“Regulation D”) provides a safe harbor under Section 4(a)(2) for transactions that
 meet certain requirements, including that the investors participating therein qualify as “accredited
 investors” within the meaning of Rule 501 under Regulation D (“Accredited Investors”). Such
                                                   29
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO               Doc 10       Filed 09/18/24   Page 35 of 69




    offering, issuance, exchange or distribution shall be structured to be available only to Holders
    who certify that they are Accredited Investors and who submit documentation allowing
    verification of their status as Accredited Investors. Any such securities shall be “restricted
    securities” as defined in Rule 144(a)(3) under the Securities Act and shall only be transferable if
    registered under the Securities Act or if transferred pursuant to an exemption from the registration
    requirements of the Securities Act and other applicable securities laws.

           3.     DTC. Should the Liquidation Trust elect on or after the Effective Date to reflect
    any ownership of the Liquidation Trust Beneficial Interests through the facilities of DTC, it need
    not provide any further evidence other than the Plan or the Confirmation Order with respect to
    the treatment of transfers, exercise, removal of restrictions, or conversion of the Liquidation Trust
    Beneficial Interests under applicable U.S. federal, state or local securities laws.

       DTC shall be required to accept and conclusively rely upon the Plan and Confirmation
Order in lieu of a legal opinion regarding whether the Liquidation Trust Beneficial Interests are
exempt from registration and/or eligible for DTC book-entry delivery, settlement and depository
services.

       Notwithstanding anything to the contrary in the Plan, no Entity (including, for the
avoidance of doubt, DTC) may require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the Liquidation Trust
Beneficial Interests are exempt from registration and/or eligible for DTC book-entry delivery,
settlement and depository services.

F.         Deemed Holders of Subordinated Note Claims

        The SC Trust I Declaration of Trust provides that SC Trust I will automatically terminate
upon the bankruptcy of Silvergate Capital Corporation. 7 Upon such termination of SC Trust I, the
terms of the SC Trust I Preferred Securities require the administrative trustee of the trust to
distribute to holders of the SC Trust I Preferred Securities the SC Trust I Subordinated Debentures
having a principal amount equal to the liquidation amount per security plus accumulated and
unpaid distributions thereon to the date of payment, after satisfaction of liabilities to creditors of
SC Trust I as provided by applicable law. 8 For purposes of this Plan, holders of the SC Trust I
Preferred Securities shall be deemed to hold the SC Trust I Subordinated Debentures and thus such
holders shall be deemed to hold the SC Trust I Claims.

        The SC Trust II Declaration of Trust provides that SC Trust II will dissolve upon the
bankruptcy of Silvergate Capital Corporation.9 Upon such dissolution of SC Trust II, the terms of
the SC Trust II Capital Securities require the institutional trustee of the trust to distribute to holders
of the SC Trust II Capital Securities the SC Trust II Subordinated Debentures on a pro rata basis,



7
    See Section 7.1(a)(ii) of the SC Trust I Declaration of Trust.
8
    See Annex I, Section 3 of the SC Trust I Declaration of Trust.
9
    See Section 7.1(a)(ii) of the SC Trust II Declaration of Trust.
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[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO              Doc 10       Filed 09/18/24   Page 36 of 69




after satisfaction of liabilities to creditors of SC Trust II as provided by applicable law.10 For
purposes of this Plan, holders of the SC Trust II Capital Securities shall be deemed to hold the SC
Trust II Subordinated Debentures and thus such holders shall be deemed to hold the SC Trust II
Claims.

G.         Preservation of Insurance

        Nothing in the Plan or the Confirmation Order alters the rights and obligations of the
Debtors (and their Estate), the beneficiaries of the Insurance Policies (including the Directors and
Officers), or the Debtors’ insurers (and third-party claims administrators), under the Insurance
Policies or modifies the coverage or benefits provided thereunder, or the terms and conditions
thereof, or diminishes or impairs the enforceability of the Insurance Policies. The Debtors shall be
deemed to have assumed all Insurance Policies. All of the Debtors’ rights and their Estates’ rights
under any Insurance Policies to which the Debtors and/or the Debtors’ Estates may be beneficiaries
shall vest with the Post-Effective Date Debtors for the benefit of the Post-Effective Date Debtors
and all of the beneficiaries of such policies, including the Directors and Officers and any Holder
entitled to recover from such policies pursuant to the Plan. Notwithstanding the foregoing, the
Debtors’ rights to any recoveries from any of the Insurance Policies and the proceeds thereof, shall
be deemed Liquidation Trust Assets and shall be distributed directly to the Liquidation Trust for
distribution to the Liquidation Trust Beneficiaries.

        Nothing in this Plan or Confirmation Order shall (a) constitute a finding or stipulation that
any proceeds of any of the D&O Liability Insurance Policies are property of the Estate; (b) modify
or supersede any provision (including but not limited to any priority of payments provision) of any
of the D&O Liability Insurance Policies, or (c) otherwise preclude any party entitled to coverage
under the D&O Liability Insurance Policies, from seeking and obtaining coverage thereunder.

H.         Indemnification Obligations

         Subject to the provisions of this Article V.G any obligations of the Debtors pursuant to
their corporate charters and bylaws or agreements, including amendments, entered into any time
prior to the Effective Date, to indemnify, reimburse or limit the liability of any Person pursuant to
the Debtors’ certificates of incorporation, bylaws, policy of providing employee indemnification,
applicable state law or specific agreement in respect of any claims, demands, suits, causes of action
or proceedings against such Persons based upon any act or omission related to such Persons’
service with, for or on behalf of the Debtors prior to the Effective Date with respect to all present
and future actions, suits and proceedings relating to the Debtors (the “Indemnification Claims”)
shall survive confirmation of the Plan provided that the Indemnification Obligations shall be
deemed amended in all respects to provide that any rights with respect to any Indemnification
Obligations shall be limited for all purposes, whether such obligations arose prepetition,
postpetition or post-Effective Date, to recovery solely from (i) available insurance coverage and
(ii) solely with respect to Indemnification Claims that are not Section 510(b) Claims, to the extent
of the available Indemnification Reserve. For the avoidance of doubt, all monetary obligations of
any kind or nature whatsoever under Article V.H of the Plan shall be limited solely to (i) available

10
     See Annex I, Section 3 of the SC Trust II Declaration of Trust.
                                                            31
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24      Page 37 of 69




insurance coverage and (ii), solely with respect to Indemnification Claims that are not Section
510(b) Claims, the Indemnification Reserve, and neither the Post-Effective Date Debtors, the
Liquidation Trustee, nor any of their respective assets shall be liable for any such obligations in
any manner whatsoever in excess of the Indemnification Reserve. Upon satisfaction of all
Indemnification Claims from the Indemnification Reserve, all remaining Cash in the
Indemnification Reserve shall vest in the Liquidating Trust and the Liquidating Trustee shall be
authorized to distribute such funds to the holders of the Liquidation Trust Beneficial Interests in
accordance with the Plan and the Liquidation Trust Agreement.

I.        Cancellation of Existing Securities and Agreements

        On the Effective Date, except as otherwise specifically provided for in the Plan, the
obligations of the Debtors under any certificate, share, note, bond, indenture, purchase right, or
other instrument or document, directly or indirectly evidencing or creating any indebtedness or
obligation of or ownership interest or equity in the Debtors or any warrants, options, or other
securities exercisable or exchangeable for, or convertible into, debt, equity, ownership, or profits
interests in the Debtors giving rise to any Claim or Interest shall be canceled and deemed
surrendered as to the Debtors and shall not have any continuing obligations thereunder.

J.        Exemption from Certain Taxes and Fees

        To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code, (i)
the issuance, transfer or exchange of any Securities, instruments, or documents, (ii) the creation of
any Lien, mortgage, deed of trust or other security interest, (iii) any transfers (directly or indirectly)
of property or transfer of beneficial ownership of property pursuant to the Plan or the Plan
Supplement, (iv) any assumption, assignment, or sale by the Debtors of their interests in Executory
Contracts pursuant to section 365(a) of the Bankruptcy Code, and (v) the issuance, renewal,
modification or securing of indebtedness by such means, and the making, delivery or recording of
any deed or other instrument of transfer under in furtherance of, or in connection with, the Plan,
including the Confirmation Order, shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate transfer tax, sale or
use tax, mortgage recording tax, or other similar tax or governmental assessment, and upon entry
of the Confirmation Order, the appropriate state or local governmental officials or agents shall
forgo the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents pursuant to such transfers of
property without the payment of any such tax, recordation fee, or governmental assessment.

                                             ARTICLE VI:
                                          LIQUIDATION TRUST

A.        Liquidation Trust Agreement

        On or prior to the Effective Date, the Liquidation Trust will be established pursuant to the
Liquidation Trust Agreement. The Liquidation Trust Agreement may provide powers, duties, and
authorities in addition to those explicitly stated herein, but only to the extent that such powers,
duties and authorities do not affect the status of the Liquidation Trust as a “liquidating trust” for
United States federal income tax purposes.
                                                 32
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10     Filed 09/18/24      Page 38 of 69




B.        Purpose of the Liquidation Trust

        The Liquidation Trust shall be established for the sole purpose of liquidating and
distributing the Liquidation Trust Assets, in accordance with Treasury Regulation section
301.7701-4(d), with no objective to continue or engage in the conduct of a trade or business, except
to the extent reasonably necessary to, and consistent with, the liquidating purpose of the
Liquidation Trust. The Liquidation Trust shall be deemed a successor-in-interest of the Debtors to
the maximum extent necessary for the Liquidation Trust to execute its purpose, and shall not
otherwise be deemed a successor-in-interest to the Debtors for any purpose other than as
specifically set forth in the Plan or in the Liquidation Trust Agreement.

        The Liquidation Trust shall be established in accordance with the Liquidation Trust
Agreement to administer post-Effective Date responsibilities of the Debtors, including, but not
limited to, (a) being vested with and liquidating the Liquidation Trust Assets, (b) making
Distributions to holders of Allowed Claims and Allowed Preferred Stock Interests in accordance
with the terms of this Plan and the Liquidation Trust Agreement, (c) resolving all Disputed Claims
and effectuating the Claims reconciliation process pursuant to the procedures prescribed in this
Plan, (d) prosecuting, settling, and resolving Causes of Action that are Liquidation Trust Assets,
(e) recovering, through enforcement, resolution, settlement, collection, or otherwise, assets on
behalf of the Liquidation Trust (which such assets shall become part of the Liquidation Trust
Assets), (f) taking any steps to dissolve, liquidate, bankrupt or take other similar action with respect
to each Debtor, including by terminating the corporate or organizational existence of each such
Debtor, and (g) performing all actions and executing all agreements, instruments and other
documents necessary to effectuate the purpose of the Liquidation Trust.

        Notwithstanding anything to the contrary in this Article VI, the Liquidation Trust’s primary
purpose is liquidating the Liquidation Trust Assets, with no objective to continue or engage in the
conduct of a trade or business except to the extent reasonably necessary to, and consistent with,
the Liquidation Trust’s liquidating purpose and reasonably necessary to conserve and protect the
Liquidation Trust Assets and provide for the orderly liquidation thereof. Liquidation Trust Assets
held by the Debtors to the Liquidation Trust, and all such assets shall vest in the Liquidation Trust
on such date, to be administered by the Liquidation Trustee, in accordance with this Plan and the
Liquidation Trust Agreement. The Debtors may take all actions as may be necessary or appropriate
to effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan.

C.        Liquidation Trust Assets

        On the Effective Date, the Liquidation Trust Assets shall be deemed irrevocably transferred
to the Liquidation Trust, without further action from the Debtors or any of their respective
managers, employees, officers, directors, members, shareholders, agents, advisors, or
representatives. The Liquidation Trust Assets shall vest in the Liquidation Trust, free and clear of
all Liens, Claims, charges, rights, or other encumbrances subject to and in accordance with the
Plan and the Liquidation Trust Agreement. For purposes of section 553 of the Bankruptcy Code,
the transfer of the Liquidation Trust Assets to the Liquidation Trust shall not affect the mutuality
of obligations that otherwise may have existed prior to the effectuation of such transfer. Such
transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or other

                                                   33
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10     Filed 09/18/24    Page 39 of 69




similar tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the Liquidation
Trust Assets to the Liquidation Trust, the Debtors and its predecessors, successors and assigns,
and each other Entity released pursuant to Article IX.C herein shall be discharged and released
from all liability with respect to the delivery of such distributions. Upon the transfer of the
Liquidation Trust Assets and pursuant to the Liquidation Trust Agreement, the Debtors will have
no reversionary or further interest in or with respect to the Liquidation Trust Assets.

D.        Liquidation Trustee

        The Liquidation Trustee shall serve as the initial trustee of the Liquidation Trust. The
Liquidation Trustee shall have no duties until the occurrence of the Effective Date, and on and
after the Effective Date shall be a fiduciary and representative of each of the Liquidation Trust and
the Post-Effective Date Debtors and their Estates. The powers, rights and responsibilities of the
Liquidation Trustee shall be as specified in the Liquidation Trust Agreement and the Plan and shall
include the authority and responsibility to fulfill the items identified in this Article VI.E of the
Plan. Other rights and duties of the Liquidation Trustee and the Liquidation Trust Beneficiaries
shall be as set forth in the Liquidation Trust Agreement.

E.        Functions of the Liquidation Trustee

        On and after the Effective Date, the Liquidation Trustee shall carry out the functions set
forth in this Article VI.E and may take such actions without further approval by the Bankruptcy
Court, in accordance with the Liquidation Trust Agreement. Such functions may include any and
all powers and authority to:

        1.     take all steps and execute all instruments and documents necessary to make
 Distributions to holders of Allowed Claims and Allowed Interests and to perform the duties
 assigned to the Liquidation Trustee under the Plan or the Liquidation Trust Agreement;

          2.         comply with and effectuate the Plan and the obligations hereunder;

        3.     employ, retain, or replace professionals to represent him or her with respect to his
 or her responsibilities;

        4.      wind up the affairs of the Debtors, if and to the extent necessary, including taking
 any steps to dissolve, liquidate, bankrupt, or take other similar action with respect to each Debtor,
 including by terminating the corporate or organizational existence of each such Debtor;

       5.       take any actions necessary to (i) resolve all matters related to the Liquidation Trust
 Assets and (ii) vest such assets in the Liquidation Trust;

        6.     make Distributions of the Liquidation Trust Assets and any proceeds thereof, in
 excess of any amounts necessary to pay Liquidation Trust Expenses, in accordance with the terms
 of this Plan;




                                                     34
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO          Doc 10     Filed 09/18/24      Page 40 of 69




       7.    prepare and file appropriate tax returns and other reports on behalf of the Debtors
 and pay taxes or other obligations owed by the Debtors (including, without limitation, any
 Allowed Administrative Expense Claims and Allowed Priority Tax Claims);

          8.         file, prosecute, settle, or dispose of any and all objections to asserted Claims;

       9.            enter into and consummate any transactions for the purpose of dissolving the
 Debtors;

        10.   comply with data retention obligation and legal obligations to produce documents
 in accordance with the DFPI C&D;

       11.    take such actions as are necessary or appropriate to close any of the Debtors’
 Chapter 11 Cases;

          12.        maintain the books and records and accounts of the Debtors; and

        13.   take any other actions not inconsistent with the provisions hereof that the
 Liquidation Trustee deems reasonably necessary or desirable in connection with the foregoing
 functions.

F.        Preservation of Rights of Action

        Other than Causes of Action against an Entity that are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan or by a Bankruptcy Court order, the
Debtors reserve any and all Causes of Action. On and after the Effective Date, the Liquidation
Trustee shall have sole and exclusive discretion to pursue and dispose of any Causes of Action that
are or become Liquidation Trust Assets, and the Liquidation Trustee shall have sole and exclusive
discretion to pursue or dispose of any and all other Causes of Action. All Causes of Action that
are or become Liquidation Trust Assets shall vest in the Liquidation Trust as provided for herein
and the Liquidation Trustee may pursue any Causes of Action that are or become Liquidation Trust
Assets in its sole discretion. No Entity may rely on the absence of a specific reference in the Plan
or the Disclosure Statement to any Cause of Action against them as any indication that the Debtors,
and on and after the Effective Date, the Liquidation Trustee, will not pursue any and all available
Causes of Action against them. No preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion (judicial, equitable, or otherwise), or laches,
shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or the
occurrence of the Effective Date and consummation of the transactions contemplated by the Plan.
Prior to the Effective Date, the Debtors (and on and after the Effective Date, the Liquidation
Trustee) shall retain and shall have, including through its authorized agents or representatives, the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action
and to decline to do any of the foregoing without the consent or approval of any third party (except
for, on and after the Effective Date, the Liquidation Trustee) or further notice to or action, order,
or approval of the Bankruptcy Court.


                                                       35
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10     Filed 09/18/24      Page 41 of 69




       Any settlement, release or other resolution of any Causes of Action by the Debtors during
the Chapter 11 Cases shall be subject to the consent of the Required Preferred Stockholders;
provided, however, that the Debtors shall be permitted (subject to Bankruptcy Court approval) to
agree and implement, after consultation with the Supporting Preferred Stockholders, any
settlement or resolution of derivative claims or Causes of Action of the Debtors against the current
and former directors, officers and employees of the Debtors that is recommended by Silvergate
Capital Corporation’s Special Investigation Committee.

G.        Substitution in Pending Legal Actions

        On the Effective Date, the Liquidation Trust shall be deemed to be substituted as the party
to any pending litigation, including the Retained Cause of Action, in which the any Debtor is a
party and shall be authorized, but not required, to file notices or other pleadings in such actions to
effectuate its substitution for such Debtor. Such substitution shall not result in holders of Claims,
including litigation Claims, against the Debtors receiving greater rights in or against the
Liquidation Trust than they are otherwise entitled to under the Plan and Liquidation Trust
Agreement on account of such Claims

H.        Fees and Expenses of the Liquidation Trust.

        From and after the Effective Date, Liquidation Trust Expenses shall be paid from the
Liquidation Trust Assets in the ordinary course of business, in accordance with the Plan and the
Liquidation Trust Agreement. Without any further notice to any party or action, order or approval
of the Bankruptcy Court, the Liquidation Trustee, on behalf of the Liquidation Trust, may employ
and pay in the ordinary course of business, the reasonable fees of any professional (including
professionals previously employed by the Debtors) for services rendered or expenses incurred on
and after the Effective Date that, in the discretion of the Liquidation Trustee, are necessary to assist
the Liquidation Trustee in the performance of the Liquidation Trustee’s duties under the Plan and
the Liquidation Trust Agreement.

I.        Data Retention and Production Obligations

        The Liquidation Trustee will comply with the Data Retention and Production Obligations.
The Data Retention and Production Reserve will be established on or prior to the Effective Date
to ensure the Liquidation Trustee has sufficient resources to comply with the Data Retention and
Production Obligations. If, in the reasonable judgment of the Liquidation Trustee, the funds in the
Data Retention and Production Reserve exceed the expected cost of complying with the Data
Retention and Production Obligations, then the Liquidation Trustee may distribute the amount of
such excess in accordance with the terms of the Plan and the Liquidation Trust Agreement to the
Liquidation Trust Beneficiaries. If, in the reasonable judgment of the Liquidation Trustee, the
funds in the Data Retention and Production Reserve are expected to be insufficient to comply with
the Data Retention and Production Obligations, then the Liquidation Trustee may use other
Liquidation Trust Assets to pay for such costs. Any funds remaining in the Data Retention and
Production Reserve on July 9, 2031, shall be promptly distributed in accordance with the Plan.



                                                   36
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24      Page 42 of 69




J.        Creation and Maintenance of Trust Accounts

        On or prior to the Effective Date, appropriate trust accounts will be established and
maintained in one or more federally insured domestic banks in the name of the Liquidation Trust.
Cash deposited in the trust accounts will be invested, held and used solely as provided in the
Liquidation Trust Agreement. The Liquidation Trustee is authorized to establish additional trust
accounts after the Effective Date, consistent with the terms of the Liquidation Trust Agreement.
After the initial funding of the trust accounts on or after the Effective Date, the trust accounts will
be funded, as applicable, by Cash proceeds obtained through litigation or the disposition of
Liquidation Trust Assets. Upon obtaining an order of the Bankruptcy Court authorizing final
Distribution or closure of the Debtors’ Chapter 11 Cases, any funds remaining in the trust accounts
shall be distributed in accordance with this Plan and the Liquidation Trust Agreement, and the
trust accounts may be closed.

K.        Exculpation and Indemnification of Liquidation Trustee

         The Liquidation Trustee (and its agents and professionals) shall not be liable for actions
taken or omitted in its or their capacity as, or on behalf of, the Liquidation Trustee or the
Liquidation Trust, except those acts arising out of its or their gross negligence, actual fraud or
willful misconduct, each as determined by a Final Order from a court of competent jurisdiction.
The Liquidation Trustee (and its agents and professionals) shall be entitled to indemnification and
reimbursement for fees and expenses in defending any and all of its or their actions or inactions in
its or their capacity as, or on behalf of, the Liquidation Trustee or the Liquidation Trust, except for
any actions or inactions involving gross negligence, actual fraud or willful misconduct, each as
determined by a Final Order from a court of competent jurisdiction. Any indemnification claims
of the Liquidation Trustee and the other parties entitled to indemnification under this subsection
shall be satisfied from the Liquidation Trust Assets, as provided in the Liquidation Trust
Agreement. The Liquidation Trustee shall be entitled to rely, in good faith, on the advice of its
professionals.

L.        Insurance

        The Liquidation Trustee shall be authorized, but not required, to obtain any reasonably
necessary insurance coverage, at the Liquidation Trust’s sole expense, for itself and its respective
agents, including coverage with respect to the liabilities, duties and obligations of the Liquidation
Trustee, which insurance coverage may, at the sole option of the Liquidation Trustee, be extended
for a reasonable period after the termination of the Liquidation Trust Agreement.

M.        Records

       The Liquidation Trustee shall be provided with originals or copies of or access to all
documents and business records of the Debtors necessary for the disposition of Liquidation Trust
Assets, prosecution of the Retained Causes of Action, reconciliation of Disputed Claims and
compliance with the Data Retention and Production Obligations.



                                                   37
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10     Filed 09/18/24      Page 43 of 69




N.        Liquidation Trust Tax Matters

        1.      Tax Treatment; No Successor in Interest. The Liquidation Trust is intended to be
 treated for U.S. federal income tax purposes as a liquidating trust described in Treasury
 Regulation section 301.7701-4(d) and, if applicable, as one or more Disputed Claims Reserves
 treated as disputed ownership funds described in Treasury Regulation section 1.468B-9. For U.S.
 federal income tax purposes, the transfer of assets by the Debtors to the Liquidation Trust is
 expected to be treated (a) as a taxable transfer of assets by the Debtors to the holders of Allowed
 Interests, subject to any liabilities of the Debtors or the Liquidation Trust payable from the
 proceeds of such assets, followed by the tax-free transfer of such assets (subject to such liabilities)
 by such holders to the Liquidation Trust in exchange for the Liquidation Trust Beneficial
 Interests, and (b) to the extent applicable, as a tax-free transfer of assets by the Debtors to one or
 more Disputed Claims Reserves.

        2.      Liquidation Purpose of the Liquidation Trust. The Liquidation Trust shall be
 established for the primary purpose of liquidating and distributing the assets transferred to it, in
 accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
 engage in the conduct of a trade or business, except to the extent reasonably necessary to, and
 consistent with, the liquidating purpose of the Liquidation Trust. Accordingly, the Liquidation
 Trustee shall, in an expeditious but orderly manner, liquidate and convert to Cash the Liquidation
 Trust Assets, make timely Distributions to the Liquidation Trust Beneficiaries, and not unduly
 prolong the duration of the Liquidation Trust. The Liquidation Trust shall not be deemed a
 successor-in-interest of the Debtors for any purpose other than as specifically set forth in the Plan
 or the Liquidation Trust Agreement. The record holders of Liquidation Trust Beneficial Interests
 shall be recorded and set forth in a register maintained by the Liquidation Trustee expressly for
 such purpose.

        3.      Cash Investments. The right and power of the Liquidation Trustee to invest the
 Liquidation Trust Assets, the proceeds thereof or any income earned by the Liquidation Trust,
 shall be limited to the right and power that a liquidating trust, within the meaning of section
 301.7701-4(d) of the Treasury Regulations, is permitted to hold, pursuant to the Treasury
 Regulations, or any modification in the IRS guidelines, including Revenue Procedure 94-45,
 whether set forth in IRS rulings or other IRS pronouncements, and to the investment guidelines
 of section 345 of the Bankruptcy Code. The Liquidation Trustee may expend Liquidation Trust
 Cash (a) as reasonably necessary to meet contingent liabilities and to maintain the value of the
 respective assets of the Liquidation Trust during liquidation, (b) to pay the respective reasonable
 administrative expenses of the Liquidation Trust (including, but not limited to, any taxes imposed
 on the Liquidation Trust) and (c) to satisfy other respective liabilities incurred by the Liquidation
 Trust in accordance with the Plan and the Liquidation Trust Agreement (including, without
 limitation, the payment of any taxes).

         4.      Liquidation Trust as Grantor Trust. The Liquidation Trust is intended to qualify as
 a “grantor trust” for U.S. federal income tax purposes with the Liquidation Trust Beneficiaries
 treated as grantors and owners of the Liquidation Trust. For all U.S. federal income tax purposes,
 all parties (including the Debtors, the Liquidation Trustee and the Liquidation Trust Beneficiaries)
 shall treat the transfer of the Liquidation Trust Assets by the Debtors to the Liquidation Trust, as

                                                   38
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10     Filed 09/18/24     Page 44 of 69




 set forth in the Liquidation Trust Agreement, as a transfer of such assets by the Debtors to the
 holders of Allowed Interests, followed by a transfer by such holders to the Liquidation Trust.
 Thus, the Liquidation Trust Beneficiaries shall be treated as the grantors and owners of a grantor
 trust for U.S. federal income tax purposes.

          5.         Tax Reporting and Tax Payments.

                     a.         The Liquidation Trustee shall file tax returns for the Liquidation Trust
                                treating the Liquidation Trust as a grantor trust pursuant to section 1.671-
                                4(a) of the Treasury Regulations and in accordance with Article VI.N.5 of
                                the Plan. The Liquidation Trustee also shall annually send to each holder of
                                a Liquidation Trust Beneficial Interest a separate statement regarding the
                                receipts and expenditures of the Liquidation Trust as relevant for U.S.
                                federal income tax purposes and will instruct all such holders to use such
                                information in preparing their U.S. federal income tax returns or to forward
                                the appropriate information to such holders’ underlying beneficial holders
                                with instructions to utilize such information in preparing their U.S. federal
                                income tax returns.

                     b.         As soon as practicable after the Effective Date, the Liquidation Trustee shall
                                make a good faith determination of the fair market value of the Liquidation
                                Trust Assets as of the Effective Date. This valuation shall be used
                                consistently by all parties for all U.S. federal income tax purposes. The
                                Bankruptcy Court shall resolve any dispute regarding the valuation of the
                                assets of the Liquidation Trust. The Liquidation Trustee may elect to treat
                                any Disputed Claims Reserve as a “disputed ownership fund” governed by
                                Treasury Regulation section 1.468B-9 (and make any appropriate elections
                                consistent with such tax treatment). The Liquidation Trustee shall be the
                                administrator of any such applicable Disputed Claims Reserve within the
                                meaning of Treasury Regulation section 1.468B-9(b)(2) and shall be
                                responsible for all tax reporting and withholding required by any such
                                Disputed Claims Reserve.

                     c.         The Liquidation Trust shall be responsible for payment, out of Liquidation
                                Trust Assets, of any taxes imposed on the Liquidation Trust (including any
                                Disputed Claims Reserve) or the Liquidation Trust Assets. More
                                particularly, any taxes imposed on any Disputed Claims Reserve or its
                                assets will be paid out of the assets of the Disputed Claims Reserve, and
                                netted against any subsequent Distributions in respect of the allowance or
                                disallowance of such Claims. In the event, and to the extent, any Cash in
                                any Disputed Claims Reserve is insufficient to pay the portion of any taxes
                                attributable to taxable income arising from assets of the Disputed Claims
                                Reserve (including any income that may arise upon an actual or constructive
                                Distribution of the assets of the reserve in respect of the resolution of
                                Disputed Claims), assets of the Disputed Claims Reserve (including those
                                otherwise distributable) may be sold to pay such taxes.

                                                          39
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO             Doc 10    Filed 09/18/24     Page 45 of 69




                     a.         The Liquidation Trustee may request an expedited determination of taxes
                                of the Liquidation Trust, including any Disputed Claims Reserve, and, in
                                the case of the Liquidation Trustee, of the Debtors, under section 505(b) of
                                the Bankruptcy Code for all tax returns filed for, or on behalf of, the
                                Liquidation Trust or the Debtors for all taxable periods through the
                                dissolution of the Liquidation Trust.

                                             ARTICLE VII:
                                 PROVISIONS REGARDING DISTRIBUTIONS

A.        Distributions Generally

       The Disbursing Agent shall make all Distributions under the Plan to the appropriate holders
of Allowed Claims and Interests in accordance with the terms of the Plan.

B.        Distribution Record Date

        Distributions shall only be made to the record holders of Allowed Claims and Interests as
of the Confirmation Date (the “Distribution Record Date”). On the Confirmation Date, the Claims
Register and Stock Register shall be closed and the Disbursing Agent shall be authorized and
entitled to recognize only those Holders of Claims and Interests listed on the Claims Register and
Stock Register as of the close of business on the Confirmation Date. Notwithstanding the
foregoing, if a Claim or Interest is transferred twenty (20) or fewer days before the Confirmation
Date, the Disbursing Agent, at the direction of the Debtors or, after the Effective Date, the
Liquidation Trust, shall make distributions to the transferee (rather than the transferor) only to the
extent practical, and, in any event, only if the relevant transfer form contains an unconditional and
explicit certification and waiver of any objection to the transfer by the transferor. The Distribution
Record Date shall not apply to publicly held securities deposited with DTC and, in connection
with any Distribution under the Plan to be effected through the facilities of DTC (whether by
means of book-entry exchange, free delivery, or otherwise), the Debtors or the Liquidation Trust,
as applicable, shall be entitled to recognize and deal for all purposes under the Plan with Holders
of Claims and Interests in each Class to the extent consistent with the customary practices of DTC
used in connection with such distributions.

C.        Disbursing Agent

        All Distributions under this Plan shall be made by the Disbursing Agent on and after the
Effective Date as provided herein. The Disbursing Agent shall not be required to give any bond or
surety or other security for the performance of its duties. The Post-Effective Date Debtors or
Liquidation Trustee shall use all commercially reasonable efforts to provide the Disbursing Agent
(if other than the Liquidation Trustee) with the amounts of Claims and Interests and the identities
and addresses of holders of Claims and Interests, in each case, as set forth in the Debtors’, or Post-
Effective Date Debtors, as applicable, books and records. The Post-Effective Date Debtors or
Liquidation Trustee shall cooperate in good faith with the applicable Disbursing Agent (if other
than the Liquidation Trustee) to comply with the reporting and withholding requirements outlined
in Article VI.S of the Plan.

                                                          40
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 46 of 69




       Notwithstanding any provision in the Plan to the contrary, distributions to the Holders of
Subordinated Note Claims shall be made to or at the direction of the respective Indenture Trustees,
which shall act as Disbursing Agent (or direct the Disbursing Agent) for distributions to the
Holders of Subordinated Note Claims, respectively, in accordance with the Plan and the applicable
Indentures.

D.        Rights and Powers of Disbursing Agent

        From and after the Effective Date, the Disbursing Agent, solely in its capacity as
Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of
Claims against and Interests in the Debtors and other parties in interest, from any and all Claims,
Causes of Action, and other assertions of liability arising out of the discharge of the powers and
duties conferred upon such Disbursing Agent by the Plan or any order of the Bankruptcy Court
entered pursuant to or in furtherance of the Plan, or applicable law, except for actions or omissions
to act arising out of fraud, gross negligence or willful misconduct of such Disbursing Agent. No
holder of a Claim or Interest or other party in interest shall have or pursue any claim or Cause of
Action against the Disbursing Agent, solely in its capacity as Disbursing Agent, for making
distributions in accordance with the Plan or for implementing provisions of the Plan, except for
actions or omissions to act arising out of the gross negligence or willful misconduct, fraud,
malpractice, criminal conduct, or ultra vires acts of such Disbursing Agent.

        The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder; (b) make
all Distributions contemplated hereby; and (c) exercise such other powers as may be vested in the
Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

E.        Post-Petition Interest

        Except as otherwise provided in the Plan, the Confirmation Order, or another order of the
Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest in
accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue
or be paid on any Claims on or after the Petition Date; provided, that if interest is payable pursuant
to the preceding sentence, interest shall accrue at the Federal Judgment Rate on a non-compounded
basis from the date the obligation underlying the Claim becomes due and is not timely paid through
the date of payment.

F.        Delivery of Distributions

        The Disbursing Agent shall make all distributions, allocations, and/or issuances required
under the Plan. In the event that any Distribution to any holder or permitted designee is returned
as undeliverable, no further distributions shall be made to such holder or such permitted designee
unless and until such Disbursing Agent is notified in writing of such holder’s or permitted
designee’s, as applicable, then-current address, at which time all currently-due, missed
distributions shall be made to such holder as soon as reasonably practicable thereafter without
interest.

                                                   41
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24   Page 47 of 69




G.        Distributions after the Effective Date

       Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date, but which later become Allowed Claims shall be deemed
to have been made on the Effective Date.

H.        Unclaimed Property

        Undeliverable Distributions shall remain in the possession of the Liquidation Trust until
such time as a Distribution becomes deliverable or holder accepts Distribution, or such
Distribution reverts back to the Liquidation Trust and shall not be supplemented with any interest,
dividends, or other accruals of any kind. Such Distributions shall be deemed unclaimed property
under section 347(b) of the Bankruptcy Code and forfeited at the expiration of one hundred and
twenty (120) days from the applicable date of Distribution. After such date, all unclaimed property
or interest in property shall revert to and vest in Liquidation Trust and the Claim of any other
holder to such property or interest in property shall be discharged and forever barred.

I.        Time Bar to Cash Payments

        Checks issued by the Disbursing Agent in respect of Allowed Claims and Interests shall be
null and void if not negotiated within one hundred and twenty (120) days after the date of issuance
thereof. Thereafter, the amount represented by such voided check shall immediately and
irrevocably revert to the Liquidation Trust and any Claim or Interest in respect of such voided
check shall be discharged and forever barred, notwithstanding any federal or state escheat laws to
the contrary. Requests for reissuance of any check prior to the expiration of the one hundred and
twenty (120) day period from the date of issuance shall be made to the Disbursing Agent by the
holder of the Allowed Claim or Interest to whom such check was originally issued.

J.        Manner of Payment under Plan

       Except as otherwise specifically provided in the Plan, at the option of the Liquidation
Trustee, any Cash payment to be made hereunder may be made by a check or wire transfer or as
otherwise required or provided in applicable agreements or customary practices of the Debtors.

K.        Satisfaction of Claims

       Except as otherwise specifically provided in the Plan, any Distributions and deliveries to
be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction,
settlement, and discharge of and exchange for such Allowed Claims.

L.        Minimum Cash Distributions

       The Disbursing Agent shall not be required to make any Distribution of Cash less than One
Hundred Dollars ($100) to any holder of an Allowed Claim; provided, that if any Distribution is
not made pursuant to this Article VII.M, such Distribution shall be added to any subsequent
Distribution to be made on behalf of the holder’s Allowed Claim.


                                                   42
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10      Filed 09/18/24   Page 48 of 69




M.        Setoffs and Recoupments

        The Debtors or the Liquidation Trustee, as applicable, or such Entity’s designee (including,
without limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against
any Claim or Interest, and any Distribution to be made on account of such Claim or Interest, any
and all claims, rights, and Causes of Action of any nature whatsoever that the Debtors, the Post-
Effective Date Debtors, or the Liquidation Trustee may have against the holder of such Claim or
Interest pursuant to the Bankruptcy Code or applicable non-bankruptcy law (other than the released
Causes of Action in favor of the Released Parties); provided, that neither the failure to do so nor
the allowance of any Claim or Interest hereunder shall constitute a waiver or release by a Debtor,
Post-Effective Date Debtor, the Liquidation Trustee, or its successor of any claims, rights, or
Causes of Action that a Debtor, a Post-Effective Date Debtor, the Liquidation Trustee, or its
successor or assign may possess against the holder of such Claim (other than the released Causes
of Action in favor of the Released Parties).

N.        Claims or Interests Paid by Third Parties

        No distributions under the Plan shall be made on account of an Allowed Claim or Allowed
Interest that is payable under one of the Debtor’s Insurance Policies until the Holder of such
Allowed Claim or Allowed Interest has exhausted all remedies with respect to such Insurance
Policy.

       Except as otherwise provided in the Plan, payments to Holders of Claims or Interests
covered by an Insurance Policy and otherwise payable under the Plan shall be made from the
proceeds of such Insurance Policy in accordance with the provisions of any such applicable
Insurance Policy. Nothing contained in the Plan shall constitute or be deemed a waiver of any
Cause of Action that the Debtors or any Entity may hold against any other Entity, including
Insurers, nor shall anything contained herein constitute or be deemed a waiver by such insurers of
any rights or defenses, including coverage defenses, held by Insurers.

        To the extent a Holder of Claims or Interests receives a payment on account of a Claim or
Interest from a party that is not the Debtor, the Liquidation Trust or a Disbursing Agent on account
of such Claim or Interest, the Debtors or the Liquidation Trust, as applicable, shall be authorized
to reduce, for the purposes of Distribution, the Allowed amount of such Claim or Interest by the
amount of the third-party payment, and such Claim or Interest shall be disallowed or deemed
satisfied, as applicable, to the extent of such third party payment without an objection having to
be filed, but subject to the filing of a notice with the Bankruptcy Court and service of such notice
on any affected Holder. Any Holder of Claims or Interests that receives full or partial payment on
account of such Claim from an Entity that is not the Debtor, the Liquidation Trust or a Disbursing
Agent shall provide notice of the date and amount of such payment to the Debtors or, after the
Effective Date, the Liquidation Trust within five (5) Business Days of receipt of such payment.
Such Creditor shall repay and/or return to the Debtors or, after the Effective Date, the Liquidation
Trust any Distribution received on account of the portion of its Claim that was satisfied by such
third-party payment within thirty (30) days.



                                                   43
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 49 of 69




O.        Allocation of Distributions between Principal and Interest

        Except as otherwise required by law (as reasonably determined by the Liquidation Trust),
Distributions with respect to an Allowed Claim shall be allocated first to the principal portion of
such Allowed Claim (as determined for United States federal income tax purposes) and, thereafter,
to the remaining portion of such Allowed Claim, if any.

P.        No Distribution in Excess of Allowed Claim

       Except as provided in Article VII.F of the Plan, no Holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such
Claim.

Q.        Distributions Free and Clear

       Except as provided herein, any distributions under the Plan shall be free and clear of and
Liens, Claims, and encumbrances, and no other Entity, including the Debtors, the Post-Effective
Date Debtors, the Liquidation Trust, or the Liquidation Trustee, shall have any interest, legal,
beneficial, or otherwise, in Assets transferred pursuant to the Plan.

R.        Compliance with Tax Requirements

        In connection with the Plan, to the extent applicable, the Liquidation Trustee and the
Liquidation Trust shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all Distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the contrary,
the Liquidation Trustee and the Liquidation Trust shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including liquidating
a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate
such distributions or establishing any other mechanisms they believe are reasonable and
appropriate. The Liquidation Trustee and the Liquidation Trust reserve the right to allocate all
distributions made under the Plan in compliance with applicable wage garnishments, alimony,
child support, and other spousal awards, Liens, and encumbrances.

                                     ARTICLE VIII:
                     PROCEDURES FOR DISPUTED CLAIMS AND INTERESTS

A.        Objections to Claims

       As of the Effective Date, objections to, and requests for estimation of, Claims against the
Debtors may only be interposed and prosecuted by the Liquidation Trustee. Such objections and
requests for estimation shall be served and filed on or before the Claims Objection Deadline.




                                                   44
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24      Page 50 of 69




B.        Allowance of Claims

       After the Effective Date, the Liquidation Trust shall have and shall retain any and all rights
and defenses that the Debtors had with respect to any Claim against a Debtor, except with respect
to any Claim deemed Allowed under this Plan. Except as expressly provided in this Plan or in any
order entered in the Chapter 11 Cases prior to the Effective Date (including, without limitation,
the Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under this Plan or the Bankruptcy Court has entered a Final Order, including,
without limitation, the Confirmation Order, in the Chapter 11 Cases allowing such Claim.

C.        Resolution of Claims

       Except as otherwise provided herein (including the release provisions hereof) or in the
Confirmation Order, or in any contract, instrument, release, or other agreement or document
entered into in connection with this Plan, in accordance with section 1123(b) of the Bankruptcy
Code, on and after the Effective Date, the Liquidation Trustee may enforce, sue on, settle, or
compromise (or decline to do any of the foregoing) all Claims, Disputed Claims, rights, Causes of
Action, suits and proceedings, whether in law or in equity, whether known or unknown, that the
Liquidation Trust may hold against any Person, and any contract, instrument, release, indenture,
or other agreement entered into in connection herewith. From and after the Effective Date, the
Liquidation Trustee may settle or compromise any Disputed Claim without the approval of the
Bankruptcy Court.

D.        Adjustment to Claims Register Without Objection

        Any duplicate Claim or Interest, any Claim (Filed or scheduled) or Interest that has been
paid or satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged
on the Claims Register by the Debtors or the Liquidation Trustee, as applicable, upon stipulation
or any agreement in writing, including email correspondence, between the parties in interest
without a Claims objection having to be Filed and without any further notice to or action, order,
or approval of the Bankruptcy Court.

E.        Disallowance of Claims

        All Proofs of Claim must be Filed on or before the applicable Bar Date. If Proofs of Claim
are not Filed on or before the applicable Bar Date, except in the case of certain exceptions explicitly
set forth in the Bar Date Order, the Holders of the underlying Claims shall, absent further Order
of the Bankruptcy Court Allowing such Claims, be barred from asserting such Claims against the
Debtors and precluded from voting on the Plan and/or receiving Distributions from the Debtors on
account of such Claims in the Chapter 11 Cases.

F.        Estimation of Claims

       The Debtors or the Liquidation Trustee may at any time request that the Bankruptcy Court
estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code regardless of whether the Debtors previously objected to such Claim or whether
the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court will retain
                                                   45
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24      Page 51 of 69




jurisdiction to estimate any Claim at any time during litigation concerning any objection to any
Claim, including, without limitation, during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any contingent, unliquidated, or
Disputed Claim, the amount so estimated shall constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Debtors, or the
Liquidation Trustee, as applicable, may pursue supplementary proceedings to object to the
allowance of such Claim; provided, that such limitation shall not apply to Claims requested by the
Debtors to be estimated for voting purposes only.

G.        Amendments to Proofs of Claim

       On or after the Effective Date, except as provided in the Plan or the Confirmation Order,
and unless the Bar Date with respect to a Claim has not passed, a Claim or Proof of Claim may not
be Filed or amended without the prior authorization of the Bankruptcy Court or the Liquidation
Trustee, and any such new or amended Claim or Proof of Claim Filed after the Effective Date shall
be deemed Disallowed in full and expunged without any further action or notice to the Bankruptcy
Court; provided that the filing of an unauthorized amendment shall not affect the underlying Claim
or Proof of Claim. Nothing in this paragraph shall remove any claimant’s ability to seek leave from
the Bankruptcy Court to amend a Claim or Proof of Claim.

H.        No Distributions Pending Allowance and Disputed Interest Reserves

        If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and
only to the extent that) such Claim becomes an Allowed Claim.

I.        Allowed and Disputed Claims Reserves

        The Liquidation Trustee shall, subject to the conditions set forth in this Article VII.I below,
establish a Disputed Claims by withholding 100% of the Distributions to which Holders of such
Disputed Claims would be entitled if such Disputed Claims were Allowed Claims or, if applicable,
the estimated amount as determined by Article V.C hereof.

J.        Distributions After Allowance

        Subject to Article VII.H hereof, after such time as a Disputed Claim or Interest becomes,
in whole or in part, an Allowed Claim or Interest, the Liquidation Trustee (or Disbursing Agent)
shall distribute to the Holder thereof Distributions, as applicable, if any, to which such Holder is
then entitled under the Plan, within thirty (30) days of such Claim or Interest becoming Allowed.
Any such Distributions shall be made in accordance with the Plan and the Liquidation Trust
Agreement. To the extent such Disputed Claim or Interest is Disallowed, any corresponding
reserved amount shall be distributed to other Allowed Claims or Interests as provided for in the
Plan and the Liquidation Trust Agreement.



                                                   46
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 52 of 69




                                 ARTICLE IX:
          SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.        Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the distributions and other benefits provided pursuant to the Plan, the Plan is and
shall be deemed a good-faith compromise and settlement of all Claims, Interests, and controversies
relating to the contractual, legal, and subordination rights that a Holder of a Claim or Interest may
have with respect to any Allowed Claim or Interest, or any distribution to be made on account of
such Allowed Claim or Interest. In addition, the Plan incorporates all settlements pursuant to
Bankruptcy Rule 9019 that are otherwise approved by the Bankruptcy Court.

        The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the compromise or settlement of all such Claims, Interests, and controversies, as well as a finding
by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. The
compromises, settlements, and releases described herein shall be deemed nonseverable from each
other and from all other terms of the Plan. In accordance with the provisions of and except as set
forth in the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or action, order,
or approval of the Bankruptcy Court, after the Effective Date, the Liquidation Trustee may
compromise and settle Claims against, and Interests in, the Debtors and their Estates and Causes
of Action against other Entities.

B.        Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), the Liquidation Trustee, the Liquidation Trust, and any and all other
Entities who may purport to assert any Cause of Action by, through, for, or because of the
foregoing Entities, shall be deemed to have conclusively, absolutely, unconditionally,
irrevocably, and forever released, waived, and discharged the Released Parties from any and
all Claims, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
whatsoever, in each case, whether prepetition or postpetition (including any derivative
Claims asserted or that may be asserted on behalf of the Debtors, their Estates, the Post-
Effective Date Debtors or the Liquidation Trust), whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors or the conduct of their
business (in each case, whether prepetition or postpetition), the formulation, preparation,
dissemination, negotiation of the Plan, the Disclosure Statement, any contract, instrument,
release, or other agreement or document created or entered into in connection with the Plan,
the Disclosure Statement, the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan, or any other related agreement, or upon any other

                                                   47
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24   Page 53 of 69




act or omission, transaction, agreement, event, or other occurrence taking place on or before
the Effective Date (in each case, whether prepetition or postpetition) related or relating to
the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases set
forth in this Article IX.B shall not release (i) any Released Party from Claims or Causes of
Action arising from an act or omission that is judicially determined by a Final Order to have
constituted actual fraud, willful misconduct, or gross negligence, or (ii) any post-Effective
Date obligations of any party or Entity under the Plan or any document, instrument, or
agreement executed to implement the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the releases described in this Article IX.B by the Debtors, which includes by reference
each of the related provisions and definitions contained in this Plan, and further, shall
constitute the Bankruptcy Court’s finding that each release described in this Article IX.B is:
(i) in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to implementing the Plan;
(ii) a good-faith settlement and compromise of the Claims released by the Debtor; (iii) in the
best interests of the Debtors and all Holders of Claims and Interests; (iv) fair, equitable, and
reasonable; (v) given and made after due notice and opportunity for hearing; (vi) a sound
exercise of the Debtors’ business judgment; and (vii) a bar to any of the Debtors, their
respective Estates or the Liquidation Trustee on behalf of the Liquidation Trust, asserting
any claim or Cause of Action related thereto, of any kind, against any of the Released Parties
or their property.

C.        Releases by Holders of Claims and Interests

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released, waived, and discharged each Debtor,
Post-Effective Date Debtor, the Liquidation Trustee, the Liquidation Trust and other
Released Party from any and all Claims, obligations, rights, suits, damages, Causes of Action,
remedies, and liabilities whatsoever (in each case, whether prepetition or postpetition),
including any derivative Claims asserted or that may be asserted on behalf of the Debtors,
their Estates, the Post-Effective Date Debtors, the Liquidation Trustee or the Liquidation
Trust that such Entity would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Interest, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors or the conduct of their business (in each case, whether prepetition or postpetition),
the formulation, preparation, dissemination, or negotiation of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the distribution of property under the Plan, or any
other related agreement, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date (in each case, whether
prepetition or postpetition) related or relating to the foregoing. Notwithstanding anything
                                                   48
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24   Page 54 of 69




to the contrary in the foregoing, the releases set forth in this Article IX.C shall not release (i)
any Released Party from Claims or Causes of Action arising from an act or omission that is
judicially determined by a Final Order to have constituted actual fraud, willful misconduct,
or gross negligence, or (ii) any post-Effective Date obligations of any party or Entity under
the Plan or any document, instrument, or agreement executed to implement the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the releases described in this Article IX.C by the Debtors, which includes by reference
each of the related provisions and definitions contained in this Plan, and further, shall
constitute the Bankruptcy Court’s finding that each release described in this Article IX.C is:
(i) in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to implementing the Plan;
(ii) a good-faith settlement and compromise of the Claims released by the holders of Claims
and Interests; (iii) in the best interests of the Debtors and all Holders of Claims and Interests;
(iv) fair, equitable, and reasonable; (v) given and made after due notice and opportunity for
hearing; (vi) a sound exercise of the Debtors’ business judgment; and (vii) a bar to any of the
Debtors, their respective Estates or the Liquidation Trustee on behalf of the Liquidation
Trust, asserting any claim or Cause of Action related thereto, of any kind, against any of the
Released Parties or their property.

D.        Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby exculpated from, any Cause of
Action for any claim related to any act or omission from the Petition Date to the Effective
Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in whole or in
part, the Debtors, the formulation, preparation, dissemination, negotiation, of the Plan, the
Disclosure Statement, any contract, instrument, release, or other agreement or document
created or entered into in connection with the Plan, the Disclosure Statement, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan or the distribution of Cash under the Plan,
or any other related agreement, except for Claims or Causes of Action arising from an act
or omission that is judicially determined in a Final Order to have constituted actual fraud,
willful misconduct, or gross negligence, but in all respects, such Exculpated Parties shall be
entitled to the fullest extent permitted by law to reasonably rely upon the advice of counsel
with respect to their duties and responsibilities. The Exculpated Parties have, and upon
Consummation of the Plan, shall be deemed to have, participated in good faith and in
compliance with the applicable laws with regard to the solicitation of, and distribution of,
consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such
distributions made pursuant to the Plan.




                                                   49
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 55 of 69




E.        Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE IX.B OR ARTICLE IX.C OR (2) ARE SUBJECT TO
EXCULPATION PURSUANT TO ARTICLE IX.D, ARE PERMANENTLY ENJOINED,
FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF THE
FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE DEBTORS, THE POST-
EFFECTIVE DATE DEBTORS, THE LIQUIDATION TRUST OR THE RELEASED
PARTIES (TO THE EXTENT OF THE RELEASES PROVIDED PURSUANT TO
ARTICLE IX.B OR ARTICLE IX.C WITH RESPECT TO THE RELEASED PARTIES),
OR THE EXCULPATED PARTIES (TO THE EXTENT OF THE EXCULPATION
PROVIDED PURSUANT TO ARTICLE IX.D WITH RESPECT TO THE EXCULPATED
PARTIES): (I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH
OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY
JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS;
AND (IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS OF CLASS
5 UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR
IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH THE
BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THIS PLAN
EXPLICITLY PRESERVING SUCH SETOFF.

F.        Protection Against Discriminatory Treatment

       Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, all Entities, including Governmental Units, shall not discriminate against the
Liquidation Trust or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise,
or other similar grant to, condition such a grant to or discriminate with respect to such a grant
against the Liquidation Trust, or another Entity with whom the Liquidation Trust has been
associated, solely because the Debtors have been a debtor under chapter 11 of the Bankruptcy
Code, may have been insolvent before the commencement of the Chapter 11 Case (or during the
Chapter 11 Case), or have not paid a debt that is dischargeable in the Chapter 11 Case.


                                                   50
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO         Doc 10    Filed 09/18/24   Page 56 of 69




G.        Setoffs

        In no event shall any Holder of a Claim be entitled to set off against such Claim any claim,
right, or Cause of Action of the Debtors or the Liquidation Trust, as applicable, unless such Holder
actually has provided notice of such setoff in writing to the Debtors on or before the Confirmation
Date, which notice may be provided in a timely filed Proof of Claim.

                                               ARTICLE X:
                                          EXECUTORY CONTRACTS

A.        Rejection of Executory Contracts

        As of and subject to the occurrence of the Effective Date, all executory contracts and
unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless such
contract or lease (a) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (b) previously expired or terminated pursuant to its own terms or by agreement
of the parties thereto; (c) is the subject of a motion to assume filed by the Debtors on or before the
Confirmation Date; (d) is a contract, release, or other agreement or document entered into in
connection with the Plan, (e) is an Insurance Policy; or (f) is identified for assumption on the
Assumption Schedule included in the Plan Supplement, which schedule shall be in form and
substance reasonably acceptable to the Required Preferred Stockholders.

        Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments, or
rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code
and a determination by the Bankruptcy Court that the Liquidation Trust has provided adequate
assurance of future performance under such assumed executory contracts and unexpired leases.
Each executory contract and unexpired lease assumed or assumed and assigned pursuant to the
Plan shall vest in and be fully enforceable by the Liquidation Trust in accordance with its terms,
except as modified by the provisions of the Plan, any order of the Bankruptcy Court authorizing
and providing for its assumption, or applicable law.

B.        Rejection Damages Claims

        In the event that the rejection of an executory contract or unexpired lease hereunder
results in damages to the other party or parties to such contract or lease, any Claim for such
damages shall be classified and treated in Class 3 (General Unsecured Claims). Such Claim
shall be forever barred and shall not be enforceable against the Debtors, their respective
Estates, the Post-Effective Date Debtors or the Liquidation Trust, or their respective
properties or interests in property as agents, successors, or assigns, unless a proof of Claim
is filed with the Claims and Noticing Agent and served upon counsel for the Debtors or
Liquidation Trust, as applicable, by the later of (a) thirty (30) days after the filing and service
of the notice of the occurrence of the Effective Date; and (b) thirty (30) days after entry of
an Order rejecting such contract or lease if such contract or lease is the subject of a pending
Assumption Dispute.


                                                      51
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24     Page 57 of 69




C.        Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any Cure Amount due under each Executory Contract and Unexpired Lease to be assumed
or assumed and assigned pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of
the Bankruptcy Code, by payment in Cash on the Effective Date (or as soon as reasonably
practicable thereafter), subject to the limitation described below, by the Debtors or the Liquidation
Trust, as applicable, or on such other terms as the parties to such Executory Contracts or Unexpired
Leases may otherwise agree.

        In the event of a dispute regarding (a) the amount of the Cure Amount, (b) the ability of
the Liquidation Trust or any other applicable assignee to provide “adequate assurance of future
performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
Contract or Unexpired Lease, or (c) any other matter pertaining to assumption or assumption and
assignment (as applicable), the obligations of section 365 of the Bankruptcy Code shall be deemed
satisfied following the entry of a Final Order or orders resolving the dispute and approving the
assumption or assumption and assignment (as applicable); provided, that the Debtors or the
Liquidation Trust (as applicable) may settle any dispute regarding the amount of any Cure Amount
without any further notice to any party or any action, order, or approval of the Bankruptcy Court.

        Assumption or assumption and assignment of any Executory Contract or Unexpired
Lease pursuant to the Plan, or otherwise, shall result in the full release and satisfaction of
any defaults, subject to satisfaction of the Cure Amount, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed Executory
Contract or Unexpired Lease at any time before the Effective Date of assumption and/or
assignment. Any prepetition default amount set forth in the Schedules and/or any Proofs of
Claim filed with respect to an Executory Contract or Unexpired Lease that has been assumed
or assumed and assigned shall be deemed Disallowed and expunged, without further notice
to or action, order, or approval of the Bankruptcy Court or any other Entity.

D.        Assignment

        To the extent provided under the Bankruptcy Code or other applicable law, any executory
contract or unexpired lease transferred and assigned hereunder shall remain in full force and effect
for the benefit of the transferee or assignee in accordance with its terms, notwithstanding any
provision in such executory contract or unexpired lease (including those of the type set forth in
section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions such transfer or
assignment. To the extent provided under the Bankruptcy Code or other applicable law, any
provision that prohibits, restricts, or conditions the assignment or transfer of any such executory
contract or unexpired lease or that terminates or modifies such executory contract or unexpired
lease or allows the counterparty to such executory contract or unexpired lease to terminate, modify,
recapture, impose any penalty, condition renewal or extension, or modify any term or condition
upon any such transfer and assignment, constitutes an unenforceable anti-assignment provision
and is void and of no force or effect with respect to any assignment pursuant to the Plan.



                                                   52
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24    Page 58 of 69




E.        Modifications, Amendments, Supplements, Restatements, or Other Agreements

        Unless otherwise provided herein or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is listed in the Assumption Schedule shall include any
and all modifications, amendments, supplements, restatements, or other agreements made directly
or indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instrument, or
other document is listed in the notice of assumed contracts.

F.        Reservation of Rights

        The Debtors may amend the Assumption Schedule and any cure notice until the Business
Day immediately prior to the commencement of the Confirmation Hearing in order to (a) add,
delete, or reclassify any executory contract or unexpired lease or amend a proposed assumption or
assumption and assignment and/or (b) amend the proposed Cure Amount; provided, that if the
Confirmation Hearing is adjourned for a period of more than two (2) consecutive calendar days,
the Debtors’ right to amend such schedules and notices shall be extended to the Business Day
immediately prior to the adjourned date of the Confirmation Hearing, with such extension applying
in the case of any and all subsequent adjournments of the Confirmation Hearing. The Debtors shall
provide notice of such amendment to any affected counterparty as soon as reasonably practicable.

        Neither the exclusion nor inclusion of any contract or lease by the Debtors on any exhibit,
schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the Plan,
will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
executory contract or unexpired lease or that the Debtors, or the Liquidation Trust, or their
respective affiliates have any liability thereunder.

       Except as otherwise provided in the Plan, nothing herein shall waive, excuse, limit,
diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
Debtors and the Liquidation Trust, under any executory or non-executory contract or any
unexpired or expired lease.

       Nothing in the Plan will increase, augment, or add to any of the duties, obligations,
responsibilities, or liabilities of the Debtors or the Liquidation Trust, as applicable, under any
executory or non-executory contract or any unexpired or expired lease.

                                           ARTICLE XI:
                             CONDITIONS PRECEDENT TO CONFIRMATION
                                    AND THE EFFECTIVE DATE

A.        Conditions to Confirmation of the Plan

       Confirmation of the Plan shall not occur unless and until each of the following conditions
has occurred or has been waived pursuant to Article XI.B of the Plan:

          1.         The Disclosure Statement Order shall have been entered;

                                                     53
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO         Doc 10    Filed 09/18/24     Page 59 of 69




        2.      The Plan Supplement and all of the schedules, documents and exhibits contained
 therein shall have been filed;

          3.         The RSA shall not have been terminated and shall be in full force and effect; and

       4.     The Disputed Claims Reserve and Indemnification Reserve shall have been set by
 agreement with the Required Preferred Stockholders or as set forth in Article V.C of the Plan;

B.        Conditions to Occurrence of the Effective Date

       The Effective Date of the Plan shall not occur unless and until each of the following
conditions has occurred or has been waived pursuant to Article XI.B of the Plan:

       1.     the Bankruptcy Court shall have entered the Confirmation Order, in form and
 substance materially consistent with the Plan and otherwise reasonably acceptable to the Debtors
 and the Required Preferred Stockholders, which shall not be stayed pending appeal;

         2.     the Professional Fee Escrow Account shall have been established and fully funded
 as set forth herein;

        3.      All Ad Hoc Preferred Stockholder Group expenses invoiced in accordance with
 Article II.C shall have been paid in full in Cash;

        4.     the Debtors shall have established such reserves for Allowed and Disputed Claims
 as required pursuant to Article V.C. and Article VIII.I of the Plan;

       5.      all documents, agreements and other instruments which are exhibits to the Plan or
 included in any Plan Supplement shall be acceptable to the Debtors and the Required Preferred
 Stockholders and shall have been executed and delivered by the parties thereto;

        6.     all actions, documents and agreements necessary to implement the Plan and the
 transactions contemplated by the Plan shall have been effected or executed;

        7.     all appropriate notices shall have been given and all other appropriate actions shall
 have been taken to preserve all applicable Insurance Policies, including any “tail policy,” notices
 required to be provided.

C.        Waiver of Conditions to Confirmation and Effective Date

       The conditions to the Effective Date set forth in Article XI.A of the Plan may be waived
by the Debtors, without notice, leave, or order of the Bankruptcy Court or any formal action other
than proceedings to confirm or consummate the Plan; provided, that the Debtors may not waive
the condition set forth in Article XI.A., other than Article XI.2, without the consent of the Required
Preferred Stockholders (e-mail of counsel being sufficient).




                                                      54
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO           Doc 10   Filed 09/18/24   Page 60 of 69




D.        Effect of Failure of Conditions to the Effective Date

        In the event the conditions specified in Article XI.A and B of the Plan have not been
satisfied or waived in accordance with Article XI.C of the Plan, and upon notification submitted
by the Debtors to the Bankruptcy Court (a) the Confirmation Order shall be vacated; (b) no
Distributions shall be made; (c) the Debtors and all Holders of Claims and Interests shall be
restored to the status quo ante as of the day immediately preceding the Confirmation Date as
though the Confirmation Date never occurred; and (d) all of the Debtors’ obligations with respect
to the Claims and Interests shall remain unchanged and nothing contained herein shall be deemed
to constitute a waiver or release of any Claims by or against the Debtors or any other Person or to
prejudice in any manner the rights of the Debtors or any other Person in any proceedings further
involving the Debtors. Neither the Disclosure Statement, any statement contained in the Disclosure
Statement nor the Plan may be used in these Chapter 11 Cases, or in any action, other than in
connection with confirmation of the Plan. In the event that the Plan is not confirmed, or is
confirmed but does not become effective, the Disclosure Statement, any statements contained in
the Disclosure Statement and the Plan shall have no force or effect, and neither the Disclosure
Statement, any statements contained in the Disclosure Statement nor the Plan shall be admissible
in any court or legal forum for any purpose whatsoever.

                                                ARTICLE XII:
                                          MODIFICATION OF THE PLAN

A.        Plan Modifications

        Subject to certain restrictions and requirements set forth in section 1127(a) of the
Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
the Plan, the Debtors may alter, amend or modify the Plan with the consent of the Required
Preferred Stockholders, including the Plan Supplement, without additional disclosure pursuant to
section 1125 of the Bankruptcy Code prior to the Confirmation Date. After the Confirmation Date
and before substantial consummation of the Plan, the Debtors may institute proceedings in the
Bankruptcy Court pursuant to section 1127(b) of the Bankruptcy Code to remedy any defect or
omission or reconcile any inconsistencies in the Plan, including the Plan Supplement, the
Disclosure Statement, or the Confirmation Order, relating to such matters as may be necessary to
carry out the purposes and effects of the Plan.

       After the Confirmation Date, but before the Effective Date, the Debtors may make
appropriate technical adjustments and modifications to the Plan with the consent, not to be
unreasonably withheld, of the Required Preferred Stockholders, including the Plan Supplement,
without further order or approval of the Bankruptcy Court; provided, that such adjustments and
modifications do not materially and adversely affect the treatment of Holders of Claims or Interests
and are otherwise permitted under section 1127(b) of the Bankruptcy Code.

B.        Effect of Confirmation on Modification

       Entry of a Confirmation Order shall mean that all modifications and amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code, and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.
                                                55
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO            Doc 10    Filed 09/18/24   Page 61 of 69




                                               ARTICLE XIII:
                                          EFFECT OF CONFIRMATION

A.        Deemed Consent

        By voting to accept the Plan or forbearing from opting out of the releases set forth in the
Plan, each Holder of a Claim will be deemed, to the fullest extent permitted by applicable law, to
have specifically consented to the exculpations, releases and injunctions set forth in the Plan;
provided that this Article XIII.A. shall not limit or impact the enforceability of any exculpation,
release, or injunction provisions of the Plan in accordance with their terms.

B.        No Waiver

     NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE PLAN,
CONFIRMATION OF THE PLAN SHALL NOT RELEASE, NOR BE DEEMED TO
RELEASE, ANY CLAIM OR CAUSE OF ACTION THAT ANY DEBTOR MAY HOLD
AGAINST ANY PERSON OR ENTITY (INCLUDING ANY RELEASED PARTY)
RELATED TO, ARISING UNDER, OR IN ANY WAY WITH RESPECT TO ANY OF THE
RETAINED CAUSES OF ACTION.

C.        Disallowed Claims and Disallowed Interests

        On and after the Effective Date, Post-Effective Date Debtors and the Liquidation Trust
shall be fully and finally discharged of any and all liability or obligation on a Disallowed Claim or
a Disallowed Interest. The Confirmation Order, except as otherwise provided herein, shall
constitute an Order: (a) disallowing all Claims against and Interests in the Debtors to the extent
such Claims and Interests are not allowable under any provision of section 502 of the Bankruptcy
Code, including, but not limited to, time-barred Claims and Interests, and Claims for unmatured
interest and (b) disallowing or subordinating to all other Claims, as the case may be, any Claims
against the Debtors for penalties, punitive damages or any other damages not constituting
compensatory damages.

                                                ARTICLE XIV:
                                          RETENTION OF JURISDICTION

        On and after the Effective Date, the Bankruptcy Court shall retain and have jurisdiction
over all matters arising in, arising under, or related to the Chapter 11 Cases, or that relate to any
of the following:

        1.      To Allow, Disallow, determine, liquidate, classify, estimate, or establish the
 priority, Secured or unsecured status, or amount of any Claim or Interest, including the resolution
 of any request for payment of any Administrative Expense Claim and the resolution of any and
 all objections to the Secured or unsecured status, priority, amount, or Allowance of Claims or
 Interests.

        2.    To hear and determine any application to modify the Plan in accordance with
 section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
                                                         56
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO         Doc 10    Filed 09/18/24     Page 62 of 69




 inconsistency in the Plan or any order of the Bankruptcy Court, including the Confirmation Order,
 in such a manner as may be necessary to carry out the purposes and effects thereof.

          3.         To hear and determine all applications for the payment of Professional Fee Claims.

        4.      To resolve any matters related to (i) the assumption, assumption and assignment or
 rejection of any Executory Contract to which a Debtor is a party or with respect to which a Debtor
 may be liable in any manner and to hear, determine, and, if necessary, liquidate, any Claims
 arising therefrom, including Claims related to the rejection of an Executory Contract or any other
 matter related to such Executory Contract; (ii) any potential contractual obligation under any
 Executory Contract or Unexpired Lease that is assumed; and (iii) any dispute regarding whether
 a contract or lease is or was executory or unexpired.

      5.     To adjudicate controversies, if any, with respect to distributions to Holders of
 Allowed Claims.

        6.      To hear and determine any dispute or reconcile any inconsistency arising in
 connection with the Plan, including any Plan Supplement, or the Confirmation Order or the
 interpretation, implementation or enforcement of the Plan, any Plan Supplement, the
 Confirmation Order, any transaction or payment contemplated hereby or any agreement,
 instrument or other document governing or relating to any of the foregoing.

       7.     To hear and determine any matter concerning state, local and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code.

      8.     To adjudicate, decide, or resolve any and all matters related to section 1141 of the
 Bankruptcy Code.

       9.     To hear and determine any other matters related hereto and not inconsistent with
 the Bankruptcy Code and title 28 of the United States Code.

        10.    To hear and determine any rights, Claims or Causes of Action, including without
 limitation Claims or Causes of Action identified on the Schedule of Retained Causes of Action,
 held by, transferred to or accruing to the Liquidation Trust pursuant to the Bankruptcy Code,
 including any settlement or compromise thereof.

        11.    To issue injunctions, enter and implement other orders, and take such other actions
 as may be necessary or appropriate to restrain interference by any Person (and any government,
 governmental agency or any subdivision, department or other instrumentality thereof) with the
 consummation, implementation or enforcement of the Plan, the Confirmation Order or any other
 order of the Bankruptcy Court.

        12.    To take any action, and issue such orders as may be necessary or appropriate, to
 construe, enforce, implement, execute and consummate the Plan or to maintain the integrity of
 the Plan following consummation.



                                                      57
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO         Doc 10     Filed 09/18/24     Page 63 of 69




        13.    To resolve any cases, controversies, suits, disputes, or Causes of Action that may
 arise in connection with the Consummation, interpretation, or enforcement of the Plan or any
 Entity’s obligations incurred in connection with the Plan.

          14.        To ensure that all Distributions are accomplished as provided herein.

        15.    To allow, disallow, determine, liquidate, classify, estimate or establish the priority
 or secured or unsecured status of any Claim.

        16.     To enter, implement or enforce such orders as may be necessary or appropriate in
 the event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated.

       17.     To enforce any order for the sale of property pursuant to sections 363, 1123, or
 1146(a) of the Bankruptcy Code.

          18.        To recover all Assets of the Estates, wherever located.

        19.     To hear and determine matters concerning exemptions from state and federal
 registration requirements in accordance with section 1145 of the Bankruptcy Code.

        20.    To determine requests for the payment of Claims entitled to priority pursuant to
 section 507 of the Bankruptcy Code.

          21.        To enter a Final Decree closing the Chapter 11 Cases.

        22.     To determine any motion, adversary proceeding, application, contested matter and
 other litigated matter pending on or commenced after the Confirmation Date.

      23.      To enforce all orders, judgments, injunctions, releases, exculpations,
 indemnifications, and rulings entered in connection with the Plan and these Chapter 11 Cases.

        24.     To determine any other matters that may arise in connection with or are related to
 the Plan, the Disclosure Statement, the Confirmation Order, any Plan Supplement or any other
 contract, instrument, release or other agreement or document related to the Plan or the Disclosure
 Statement.

        25.     To adjudicate any adversary proceedings pending before the Bankruptcy Court on
 or after the Petition Date or any other disputes relating to any Retained Cause of Action that the
 Post-Effective Date Debtors may bring thereafter.

          26.        To hear and determine any dispute or suit regarding setoff or recoupment.

          27.        Adjudicate all other matters over which the Bankruptcy Court has jurisdiction.




                                                      58
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO            Doc 10    Filed 09/18/24   Page 64 of 69




                                                 ARTICLE XV:
                                          MISCELLANEOUS PROVISIONS

A.        Payment of Statutory Fees

         All Quarterly Fees due and payable prior to the Effective Date shall be paid by the Debtors,
in full, in Cash, on or before the Effective Date. All Quarterly Fees that arise after the Effective
Date (including, without limitation, in connection with funding the Professional Fee Escrow
Account) shall be paid by the Estates or the Post-Effective Date Debtors in full, in Cash when due
and payable.

B.        Notices

       Any notices, requests, and demands to or upon the Debtors or the Post-Effective Date
Debtors, to be effective, shall be in writing and, unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when actually delivered to the following:




                                                         59
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24   Page 65 of 69




 Silvergate Capital Corporation
 4225 Executive Square, Suite 600,
 La Jolla, CA 92037
 Attn: Paris Cribben

 -and-

 Richards, Layton & Finger, P.A.
 One Rodney Square
 920 North King Street
 Wilmington, Delaware 19801
 Attn: Paul N. Heath
       Michael J. Merchant
       David T. Queroli
       Emily R. Mathews
       heath@rlf.com
       merchant@rlf.com
       queroli@rlf.com
       mathews@rlf.com

 -and-

 Cravath, Swaine & Moore LLP
 375 Ninth Avenue
 New York, NY 10001
 Attn: George E. Zobitz
       Paul H. Zumbro
       Alexander Gerten
       jzobitz@cravath.com
       pzumbro@cravath.com
       agerten@cravath.com




                                                   60
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10    Filed 09/18/24    Page 66 of 69




C.        Headings

        The headings and other captions used in the Plan are for reference purposes only, and shall
not affect the meaning or interpretation of the Plan in any way.

D.        Governing Law

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a document in the Plan Supplement provides otherwise, the rights, duties
and obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of Delaware, without giving effect to the principles of
conflict of laws thereof.

E.        Notice of Entry of Confirmation Order and Relevant Dates

       Promptly upon entry of the Confirmation Order, the Debtors shall file on the docket and
serve upon parties who have entered their appearance a notice of the entry of the Confirmation
Order and all relevant deadlines and dates under the Plan.

F.        Revocation, Withdrawal or Non-Consummation of Plan

        If the Debtors revoke or withdraw the Plan with respect to any one or more of the Debtors,
or if confirmation or consummation of the Plan does not occur as to any Debtor, then, as to such
Debtor, (a) the Plan shall be null and void in all respects and (b) any settlements and compromises
embodied in the Plan, and any document or agreement executed pursuant the Plan and not
otherwise approved by a separate Final Order shall be deemed null and void and nothing contained
in the Plan and no acts taken in preparation for consummation of the Plan shall (i) constitute or be
deemed to constitute a waiver or release of any Claims against or Interests in such Debtor or any
other Person, (ii) prejudice in any manner the rights of any of the Debtors or any other Person in
any other further proceedings involving such Debtor or (iii) constitute or be deemed to constitute
an admission of any sort by the Debtors or any other Person. None of the filing of the Plan, the
taking by the Debtors or other party in interest of any action with respect to the Plan or any
statement or provision contained herein shall be or be deemed to be an admission by the Debtors
or other party in interest against interest, or be or be deemed to be a waiver of any rights, Claims
or remedies that the Debtors or other party in interest may have, and until the Effective Date all
such rights and remedies are and shall be specifically reserved. In the event the Plan is not
confirmed and the Confirmation Order is not entered, the Plan and any Plan Supplement, and any
statement contained herein or therein, may not be used by any Person (and any government,
governmental agency or any subdivision, department or other instrumentality thereof) against the
Debtors and other parties in interest. The Debtors shall consult with the Required Preferred
Stockholders with respect to the revocation or withdrawal of the Plan with respect to any one or
more of the Debtors.




                                                   61
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO        Doc 10    Filed 09/18/24   Page 67 of 69




G.        Binding Effect

        The Plan shall be binding upon and inure to the benefit of the Debtors and the Post-
Effective Date Debtors and the Holders of all Claims and Interests and their respective successors
and assigns.

H.        Severability of Plan Provisions

        If, prior to the Effective Date, any term or provision of the Plan is held by the Bankruptcy
Court to be invalid, void or unenforceable, the Bankruptcy Court, at the request of the Debtors in
with the consent, not to be unreasonably withheld, of the Required Preferred Stockholders, shall
have the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the
terms and provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired or invalidated by such holding, alteration or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.

I.        No Admissions

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND OTHER
CAUSES OF ACTION OR THREATENED CAUSES OF ACTION, THE PLAN SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION, OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS.

J.        Time

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth in the Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006
as in effect on the Petition Date shall apply. With regard to all dates and the periods of time set
forth or referred to in the Plan, time is of the essence.

K.        Successors and Assigns

       The rights, benefits and obligations of any Person (and any government, governmental
agency or any subdivision, department or other instrumentality thereof) named or referred to in the
Plan shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor or assign of such Person (and any government, governmental agency or any subdivision,
department or other instrumentality thereof).




                                                     62
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO           Doc 10     Filed 09/18/24   Page 68 of 69




L.        Conflict between Plan, Disclosure Statement and Plan Documents

       In the event of any conflict between the terms and provisions in the Plan and the terms and
provisions in the Disclosure Statement, or any Plan Supplement, the terms and provisions of the
Plan shall control and govern.

M.        Substantial Consummation

       On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

N.        Plan Exhibits

        Any and all exhibits to the Plan or other lists or schedules not filed with the Plan shall be
filed with the Clerk of the Bankruptcy Court at least seven (7) Business Days prior to the Plan
Objection Deadline, unless the Plan provides otherwise. Upon such filing, such documents may
be inspected in the office of the Clerk of the Bankruptcy Court during normal court hours. Holders
of Claims or Interests may obtain a copy of any such document upon written request to the Debtors
or online at https://cases.stretto.com/silvergate. The Debtors explicitly reserve the right to, in the
exercise of its sole and absolute discretion, modify or make additions to or subtractions from any
schedule to the Plan and to modify any exhibit to the Plan prior to the Plan Objection Deadline.

                                          [Signature on following page.]




                                                        63
[[DMS:6492911v14:09/17/2024--11:01 PM]]
                   Case 24-12158-KBO      Doc 10   Filed 09/18/24     Page 69 of 69




Respectfully Submitted, as of September 18, 2024


                                           Silvergate Capital Corporation
                                           on behalf of itself and each Debtor

                                           By:       /s/ Elaine Hetrick
                                                   Name: Elaine Hetrick
                                                   Title: Chief Administrative Officer




[[DMS:6492911v14:09/17/2024--11:01 PM]]
